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          SUPREME COURT OF THE STATE OF NEW YORK
          NEW YORK COUNTY
          ----------------------------------------------------------------------X
          JESSICA HARDISON; JOHN STREET; GARY STEVEN
          FOX; EBONY GRINER; CLUDE RUSHING JR.; BRYAN                               Index No. _________/2022
          KERR; ROGER HARDIN; PAUL DUFOUR; MICHAEL
                                                                                    SUMMONS
          TETLAK; ROBERT HUEY JR.; WILLIAM MILLER;
          JOHN W. MILLS; RANDY SALINAS; JACK RADER;                                 Venue is designated pursuant to
          JEFFREY CLINE; FREDERICK T. BREWSTER;                                     CPLR § 503(a) & (c) in that
          ENRIQUE MIRANDA; TAURUS BLACKMON; MARY                                    NEW YORK in this county.
          TAYLOR; BERNIE RAY UNDERWOOD JR.;
          MATTHEW SACKETT; RICHARD HALL; JONATHAN
          PHELAN; THOMAS BROWN; JASON ARMENTROUT;
          ANDREW BENNETT JR.; DOUGLAS WILLIAMS;
          KENNETH KILGORE; BRANDON AIKEN; SAVEDRA
          CAIN; JAMES LAUDERDALE; BRANDY SCHAFER;
          RALPH JOHNSON; TUCKER HUNT; EDWARD
          PACICH; JAMES SAPP; DIANE HOLMES; WILLIAM
          ROWE; NANCY RADTKE; JAVIER LONGORIA;
          RICKY MILLEDGE; KATHLEEN FLYNN; RANDI
          BARNES; SEBASTIAN RICE; RONALD LEDFORD;
          WILLIAM GREENE; HAROLD TAYLOR; TERRY
          TATE, AS REPRESENTATIVE OF THE ESTATE OF
          RAY TATE; GILBERT TORRES; MELVINEICE
          HOLLOMAN; AND DAVID MCCORD,

                                     Plaintiffs,


          -against -

          THE 3M COMPANY, f/k/a Minnesota Mining and
          Manufacturing Co., AGC CHEMICALS AMERICAS INC.,
          AMEREX CORPORATION, ARKEMA INC.,
          ARCHROMA U.S. INC., BUCKEYE FIRE EQUIPMENT
          COMPANY, CARRIER GLOBAL CORPORATION,
          CHEMDESIGN PRODUCTS INC., CHEMGUARD INC.
          CHEMICALS, INC., CLARIANT CORPORATION,
          individually and as successor in interest to Sandoz Chemical
          Corporation, CORTEVA, INC., individually and as
          successor in interest to DuPont Chemical Solutions
          Enterprise, DEEPWATER CHEMICALS, INC., DUPONT
          DE NEMOURS INC., individually and as successor in
          interest to DuPont Chemical Solutions Enterprise, DYNAX




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           CORPORATION, E. I. DUPONT DE NEMOURS AND
           COMPANY, individually and as successor in interest to
           DuPont Chemical Solutions Enterprise, KIDDE-FENWAL,
           INC., individually and as successor in interest to Kidde Fire
           Fighting, Inc., NATION FORD CHEMICAL COMPANY,
           THE CHEMOURS COMPANY, individually and as
           successor in interest to DuPont Chemical Solutions
           Enterprise, THE CHEMOURS COMPANY FC, LLC,
           individually and as successor in interest to DuPont
           Chemical Solutions Enterprise, and TYCO FIRE
           PRODUCTS, LP, individually and as successor in interest
           to The Ansul Company, and DOE DEFENDANTS 1-20,
           fictitious names whose present identities are unknown,

                              Defendants.
           ----------------------------------------------------------------------X

          To the above-named Defendant:

                  You are hereby summoned to answer the Complaint in this action, and to serve a copy of

          your Answer, or, if the Complaint is not served with this Summons, to serve a Notice of

          Appearance on the Plaintiffs’ attorneys within twenty (20) days after the service of this Summons,

          exclusive of the day of service, where service is made by delivery upon you personally within the

          state, or, within thirty (30) days after completion of service where service is made in any other

          manner. In case of your failure to appear or answer, judgment will be taken against you by default

          for the relief demanded in the Complaint.

          Dated: New York, New York
                 May 26, 2022

                                                                                Napoli Shkolnik, PLLC
                                                                                Attorneys for Plaintiff

                                                                                /s/ Patrick J. Lanciotti
                                                                                Patrick J. Lanciotti, Esq.
                                                                                360 Lexington Avenue, 11th Floor
                                                                                New York, New York 10017
                                                                                212-397-1000
                                                                                PLanciotti@napolilaw.com



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          To:

          3M COMPANY
          c/o Corporation Service Company
          251 Little Falls Drive
          Wilmington, New Castle, DE 19808

          AGC CHEMICALS AMERICAS INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          AMEREX CORPORATION
          c/o James M. Proctor II
          2900 Highway 280
          Suite 300
          Birmingham, AL 35223

          ARCHROMA U.S. INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          ARKEMA INC.
          900 First Avenue
          King of Prussia, PA 19406

          BUCKEYE FIRE EQUIPMENT COMPANY
          c/o A Haon Corporate Agent, Inc.
          29225 Chagrin Blvd, Suite 350
          Pepper Pike, OH 44122

          CARRIER GLOBAL CORPORATION
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801




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          CHEMDESIGN PRODUCTS INC.
          c/o Corporation Service Company
          251 Little Falls Drive
          Wilmington, New Castle, DE, 19808

          CHEMGUARD INC.
          c/o The Prentice-Hall Corporation System, Inc.
          251 Little Falls Drive
          Wilmington, New Castle, DE, 19808

          CHEMICALS, INC.
          c/o Ashok K. Moza
          12321 Hatcherville
          Baytown, TX 77520

          CLARIANT CORPORATION
          c/o Corporation Service Company
          8040 Excelsior Drive, Suite 400
          Madison, WI 53717

          CORTEVA, INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          DEEPWATER CHEMICALS, INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          DUPONT DE NEMOURS INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          DYNAX CORPORATION
          c/o Corporate Systems LLC
          3500 S. Dupont Highway
          Dover, DE 19901

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          E. I. DUPONT DE NEMOURS AND COMPANY
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          KIDDE-FENWAL, INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          NATION FORD CHEMICAL COMPANY
          c/o John A. Dickson, IV
          2300 Bank Street
          Fort Mill, SC 29715

          THE CHEMOURS COMPANY
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          THE CHEMOURS COMPANY FC, LLC
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          TYCO FIRE PRODUCTS LP
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801




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          SUPREME COURT OF THE STATE OF NEW YORK
          NEW YORK COUNTY

          JESSICA HARDISON; JOHN STREET; GARY STEVEN
          FOX; EBONY GRINER; CLUDE RUSHING JR.; BRYAN
          KERR; ROGER HARDIN; PAUL DUFOUR; MICHAEL
          TETLAK; ROBERT HUEY JR.; WILLIAM MILLER;
          JOHN W. MILLS; RANDY SALINAS; JACK RADER;
          JEFFREY CLINE; FREDERICK T. BREWSTER;                          Index No. _________/2022
          ENRIQUE MIRANDA; TAURUS BLACKMON; MARY
          TAYLOR; BERNIE RAY UNDERWOOD JR.; MATTHEW                      COMPLAINT AND DEMAND
                                                                         FOR JURY TRIAL
          SACKETT; RICHARD HALL; JONATHAN PHELAN;
          THOMAS BROWN; JASON ARMENTROUT; ANDREW                         Trial by jury is desired in the
          BENNETT JR.; DOUGLAS WILLIAMS; KENNETH                         County of New York
          KILGORE; BRANDON AIKEN; SAVEDRA CAIN;
          JAMES LAUDERDALE; BRANDY SCHAFER; RALPH                        Venue is designated pursuant to
          JOHNSON; TUCKER HUNT; EDWARD PACICH; JAMES                     CPLR § 503(a) & (c) in that the
          SAPP; DIANE HOLMES; WILLIAM ROWE; NANCY                        causes of action occurred in this
          RADTKE; JAVIER LONGORIA; RICKY MILLEDGE;                       county.
          KATHLEEN FLYNN; RANDI BARNES; SEBASTIAN
          RICE; RONALD LEDFORD; WILLIAM GREENE;
          HAROLD TAYLOR; TERRY TATE, AS
          REPRESENTATIVE OF THE ESTATE OF RAY TATE;
          GILBERT TORRES; MELVINEICE HOLLOMAN; AND
          DAVID MCCORD,

                        Plaintiffs,

          -vs -

          THE 3M COMPANY, f/k/a Minnesota Mining and
          Manufacturing Co., AGC CHEMICALS AMERICAS INC.,
          AMEREX CORPORATION, ARKEMA INC.,
          ARCHROMA U.S. INC., BUCKEYE FIRE EQUIPMENT
          COMPANY, CARRIER GLOBAL CORPORATION,
          CHEMDESIGN PRODUCTS INC., CHEMGUARD INC.
          CHEMICALS, INC., CLARIANT CORPORATION,
          individually and as successor in interest to Sandoz Chemical
          Corporation, CORTEVA, INC., individually and as successor
          in interest to DuPont Chemical Solutions Enterprise,
          DEEPWATER CHEMICALS, INC., DUPONT DE
          NEMOURS INC., individually and as successor in interest to
          DuPont Chemical Solutions Enterprise, DYNAX
          CORPORATION, E. I. DUPONT DE NEMOURS AND




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           COMPANY, individually and as successor in interest to
           DuPont Chemical Solutions Enterprise, KIDDE-FENWAL,
           INC., individually and as successor in interest to Kidde Fire
           Fighting, Inc., NATION FORD CHEMICAL COMPANY,
           THE CHEMOURS COMPANY, individually and as
           successor in interest to DuPont Chemical Solutions
           Enterprise, THE CHEMOURS COMPANY FC, LLC,
           individually and as successor in interest to DuPont Chemical
           Solutions Enterprise, and TYCO FIRE PRODUCTS, LP,
           individually and as successor in interest to The Ansul
           Company, and DOE DEFENDANTS 1-20, fictitious names
           whose present identities are unknown,

                          Defendants.



                               COMPLAINT AND DEMAND FOR JURY TRIAL

                 Plaintiffs JESSICA HARDISON; JOHN STREET; GARY STEVEN FOX; EBONY

          GRINER; CLUDE RUSHING JR.; BRYAN KERR; ROGER HARDIN; PAUL DUFOUR;

          MICHAEL TETLAK; ROBERT HUEY JR.; WILLIAM MILLER; JOHN W. MILLS; RANDY

          SALINAS; JACK RADER; JEFFREY CLINE; FREDERICK T. BREWSTER; ENRIQUE

          MIRANDA; TAURUS BLACKMON; MARY TAYLOR; BERNIE RAY UNDERWOOD JR.;

          MATTHEW SACKETT; RICHARD HALL; JONATHAN PHELAN; THOMAS BROWN;

          JASON ARMENTROUT; ANDREW BENNETT JR.; DOUGLAS WILLIAMS; KENNETH

          KILGORE; BRANDON AIKEN; SAVEDRA CAIN; JAMES LAUDERDALE; BRANDY

          SCHAFER; RALPH JOHNSON; TUCKER HUNT; EDWARD PACICH; JAMES SAPP; DIANE

          HOLMES; WILLIAM ROWE; NANCY RADTKE; JAVIER LONGORIA; RICKY MILLEDGE;

          KATHLEEN FLYNN; RANDI BARNES; SEBASTIAN RICE; RONALD LEDFORD;

          WILLIAM GREENE; HAROLD TAYLOR; TERRY TATE, AS REPRESENTATIVE OF THE

          ESTATE OF RAY TATE; GILBERT TORRES; MELVINEICE HOLLOMAN; AND DAVID

          MCCORD, (“Plaintiffs”), by and through the undersigned counsel, hereby files this Complaint


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          against Defendants, 3M COMPANY, f/k/a Minnesota Mining and Manufacturing Co., AGC

          CHEMICALS AMERICAS INC., AMEREX CORPORATION, ARKEMA INC., ARCHROMA

          U.S INC., BUCKEYE FIRE EQUIPMENT COMPANY, CARRIER GLOBAL CORPORATION,

          CHEMDESIGN PRODUCTS INC., CHEMGUARD INC., CHEMICALS, INC., CLARIANT

          CORPORATION, CORTEVA, INC., DEEPWATER CHEMICALS, INC., DUPONT DE

          NEMOURS INC., DYNAX CORPORATION, E. I. DUPONT DE NEMOURS AND COMPANY,

          KIDDE-FENWAL, INC., NATION FORD CHEMICAL COMPANY, THE CHEMOURS

          COMPANY, THE CHEMOURS COMPANY FC, LLC, and TYCO FIRE PRODUCTS, LP, and

          DOE DEFENDANTS 1-20, fictitious names whose present identifies are unknown (collectively

          “Defendants”) and alleges, upon information and belief, as follows:

                                                   INTRODUCTION

                     1.   This action arises from the foreseeable contamination of groundwater by the use of

          aqueous film-forming foam (“AFFF”) products that contained per- and poly-fluoroalkyl

          substances (“PFAS”), including perfluoro octane sulfonate (“PFOS”) and perfluorooctanoic acid

          (“PFOA”).

                     2.   PFOS and PFOA are fluorosurfactants that repel oil, grease, and water. PFOS,

          PFOA, and/or their chemical precursors, are or were components of AFFF products, which are

          firefighting suppressant agents used in training and firefighting activities for fighting Class B fires.

          Class B fires include fires involving hydrocarbon fuels such as petroleum or other flammable

          liquids.

                     3.   PFOS and PFOA are mobile, persist indefinitely in the environment, bioaccumulate

          in individual organisms and humans, and biomagnify up the food chain. PFOS and PFOA are also

          associated with multiple and significant adverse health effects in humans, including but not limited



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          to kidney cancer, testicular cancer, high cholesterol, thyroid disease, ulcerative colitis, and

          pregnancy-induced hypertension.

                 4.      At various times from the 1960s through today, Defendants designed,

          manufactured, marketed, distributed, and/or sold AFFF products containing PFOS, PFOA, and/or

          their chemical precursors, and/or designed, manufactured, marketed, distributed, and/or sold the

          fluorosurfactants and/or perfluorinated chemicals (“PFCs”) contained in AFFF (collectively,

          “AFFF/Component Products”).

                 5.      Defendants     designed,   manufactured,     marketed,    distributed,   and/or   sold

          AFFF/Component Products with the knowledge that these toxic compounds would be released

          into the environment during fire protection, training, and response activities, even when used as

          directed and intended by Defendants.

                 6.      Since its creation in the 1960s, AFFF designed, manufactured, marketed,

          distributed, and/or sold by Defendants, and/or that contained fluorosurfactants and/or PFCs

          designed, manufactured, marketed, distributed, and/or sold by Defendants, used as directed and

          intended by Defendants, and subsequently released into the environment during fire protection,

          training, and response activities, resulting in widespread PFAS contamination.

                 7.      Due to this contamination, Plaintiffs have suffered real personal injuries,

          bioaccumulation of PFAS in their bodies, property damage and the diminution in value of their

          properties as a result of the release of PFAS to their water supplies.

                 8.      Plaintiffs have suffered an assortment of diseases and medical conditions as a direct

          result of their exposure to the PFAS contamination of their water supply.




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                 9.      Plaintiffs, as residents and those who visited, worked, or otherwise dwelled in the

          Site area, have been unknowingly exposed for many years to PFAS, including at concentrations

          hazardous to their health.

                 10.     Plaintiffs’ unwitting exposure to PFAS in their water supply as a result of the

          Defendants’ conduct, is the direct and proximate cause of Plaintiffs’ injuries.

                 11.     Plaintiffs’ property has been damaged as a result of the presence of the PFAS in

          their water supply.

                 12.     Plaintiffs seek recovery from Defendants for injuries, damages, and losses suffered

          by the Plaintiffs as a result of exposure to the introduction of PFAS and other toxic substance into

          their water supply, and then into their properties and bodies, in an amount to be determined at trial,

          exclusive of interest, costs, and attorneys’ fees.

                                            JURISDICTION AND VENUE

                 13.     This Court has jurisdiction because Defendant Dynax Corporation’s principal place

          of business is located at 103 Fairview Park Drive, Elmsford, New York 10523.

                 14.     Venue is proper in this District under CPLR §503 (a) because the events, omissions

          and harms that are the basis of Plaintiffs claims occurred in substantial party in this District.

                 15.     This Court has personal jurisdiction over Defendants by virtue of each Defendants’

          regular and systematic contacts with New York, including, among other things, purposefully

          marketing, selling and/or distributing their AFFF/Component Products to and within New York,

          and because they have the requisite minimum contacts with New York necessary to

          constitutionally permit the Court to exercise jurisdiction over them consistent with traditional

          notions of fair play and substantial justice.




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                                                      PARTIES

                 A.      Plaintiffs

                 16.     Plaintiff Jessica Hardison resides at 888 Narcissus Dr, New Carlisle, OH 45344.

          Plaintiff was formerly stationed at Seymour Johnson AFB, NC (hereinafter the “Site”) from 1997

          to 1999 was living on base at the Site during that time. While living on base at the Site, Claimant

          was exposed to PFAS through daily activity and regularly consumed water containing elevated

          levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Thyroid Disease.

                 17.     Plaintiff John Street resided at 198 Fairview Drive, Memphis, TN 38109. Plaintiff

          was formerly stationed at FT. Jackson; Ft. Riley; Ft. Sam Houston (hereinafter the “Site”) and was

          living on base at the Site during that time. While living on base at the Site, Claimant was exposed

          to PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff’s exposure, Plaintiff has been diagnosed with High Blood Pressure, Ulcerative Colitis.

                 18.     Plaintiff Gary Stevene Fox resides at 363 White Dove, Quitman, TX 75783.

          Plaintiff was formerly stationed at Treasure Island, CA; Alameda Naval Base (hereinafter the

          “Site”) from 1973 to 1977 and was living on base at the Site during that time. While living on base

          at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with High

          Cholesterol, Kidney Cancer.

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                 19.     Plaintiff Ebony S. Griner resides at 6901 Saratoga Blvd Apt. 513, Corpus Christi,

          TX 78414. Plaintiff was formerly stationed at Jacksonville Naval Base; Great Lakes Naval Station;

          Corpus Christi NAS (hereinafter the “Site”) from 2008 to 2021 and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff’s exposure,

          Plaintiff has been diagnosed with PTSD, Thyroid Disease.

                 20.     Plaintiff Clyde Rushing Jr. resided at 3604 11th Street, Alexandria, LA 71302.

          Plaintiff was formerly stationed at USS Harold J. Allison; Navy Reserve Manpower CTR, MD

          (hereinafter the “Site”) from 1973 to 1978 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff has

          been diagnosed with High Blood Pressure, High Cholesterol, Liver Cancer, Prior Existing

          Condition - Exacerbation.

                 21.     Plaintiff Bryan Kerr resides at 1737 Marilyn Ave., Millbury, OH 43447. Plaintiff

          was formerly stationed at Charleston Naval Weapons Station (hereinafter the “Site”) from 1984 to

          1987 and was living on base at the Site during that time. While living on base at the Site, Claimant

          was exposed to PFAS through daily activity and regularly consumed water containing elevated

          levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and



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          proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with High Cholesterol,

          Prostate Cancer.

                 22.     Plaintiff Roger Hardin resides at 3413 Bankside, The Colony, TX 75056. Plaintiff

          was formerly stationed at Mather AFB; Eggland AFB (hereinafter the “Site”) from 1972 to 1980

          and was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Kidney Cancer.

                 23.     Plaintiff Paul Dufour resides at 737 Brown Thrasher, San Antonio, TX 78253.

          Plaintiff was formerly stationed at Great Lakes Naval Station; USS Constellation; BR Med Clinic

          MCRD; Millington NAS; MCRD San Diego (hereinafter the “Site”) from 1990 to 1996 and was

          living on base at the Site during that time. While living on base at the Site, Claimant was exposed

          to PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff’s exposure, Plaintiff has been diagnosed with High Blood Pressure, High Cholesterol,

          Thyroid Disease.

                 24.     Plaintiff Michael Tetlak resides at 415 Adkins Arch, Virginia Beach, VA 23462.

          Plaintiff was formerly stationed at Great Lakes Naval Station; Liberty Station; NAVSTA

          Pascagoula; NAS Pensacola; NAS North Island; Naval Station Norfolk; Jacksonville Naval Base;

          NAS Corpus Christi; Naval Base Point Loma (hereinafter the “Site”) from 1997 to 2004 and was

          living on base at the Site during that time. While living on base at the Site, Claimant was exposed



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          to PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff’s exposure, Plaintiff has been diagnosed with Liver Problems, Ulcerative Colitis.

                 25.     Plaintiff Robert Huey Jr. resides at 3284 Country Rd 213, Clyde, OH 43410.

          Plaintiff was formerly stationed at FT. Knox; Wiesbaden Air Base; US Army Garrison Wiesbaden

          (hereinafter the “Site”) from 1985 to 1989 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff has

          been diagnosed with Pancreatic Cancer.

                 26.     Plaintiff William Miller resides at 172 Riviera Drive, Newport, TN 37821. Plaintiff

          was formerly stationed at Camp Lejeune (hereinafter the “Site”) from 1969 to 1971 and was living

          on base at the Site during that time. While living on base at the Site, Claimant was exposed to

          PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff’s exposure, Plaintiff has been diagnosed with High Blood Pressure, High Cholesterol,

          Thyroid Disease.

                 27.     Plaintiff John W Mills resides at 9986 Hamlock Ave, Atsperia, CA 92345. Plaintiff

          was formerly stationed at FT. Ord; FT. Polk; FT. Irwin; Camp Pendleton; FT. Bend; FT. Campbell

          (hereinafter the “Site”) from 1983 to 1984 and was living on base at the Site during that time.



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          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff has

          been diagnosed with Kidney Cancer.

                 28.     Plaintiff Randy Salinas resided at 508 E Kyle Ct., Gilbert, AZ 85296. Plaintiff was

          formerly stationed at Naval Station Pearl Harbor (hereinafter the “Site”) from 1985 to 1988 and

          was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Hypothyroidism, Liver

          Problems, Thyroid Disease.

                 29.     Plaintiff Jack Rader resides at 13364 E. Hwy 84, Axtell, TX 76624. Plaintiff was

          formerly stationed at Ellsworth AFB; Carlsbad AFB; Mountain Home AFB; NAS Norfolk;

          Kirtland AFB; San Diego Naval Base; Orlando Naval Base; Charleston Naval Base; USS Silent

          Lake; naval Station Rota; Goodfellow AFB; Sembach Kaserne AFB (hereinafter the “Site”) from

          1985 to 2003 and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Kidney Cancer,

          Lung Cancer, Myeloma, Renal Cell Carcinoma.



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                 30.     Plaintiff Jeffrey Cline resides at PO Box 443, Millersport, OH 43046. Plaintiff was

          formerly stationed at NAS Norfolk (hereinafter the “Site”) from 1990 to 2008 and was living on

          base at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

          through daily activity and regularly consumed water containing elevated levels of PFAS. Claimant

          has been exposed for many years to PFAS as a result of the PFAS contamination at the Site,

          including at concentrations hazardous to their health. As a direct and proximate result of Plaintiff’s

          exposure, Plaintiff has been diagnosed with Ulcerative Colitis.

                 31.     Plaintiff Frederick T. Brewster resides at 37676 Eagle Drive, Raymond, CA 93653.

          Plaintiff was formerly stationed at FT. Rucker; FT. Bliss; FT. Wainwright; FT. Bragg; NIKE

          Missle Site (hereinafter the “Site”) from 1970 to 1973 and was living on base at the Site during

          that time. While living on base at the Site, Claimant was exposed to PFAS through daily activity

          and regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff has

          been diagnosed with Testicular Cancer.

                 32.     Plaintiff Enrique Miranda resides at 7631 Presidio Crest, Boerne, TX 78015.

          Plaintiff was formerly stationed at Lackland AFB; Goodfellow AFB; Camp Bullis; JBSA FT. Sam

          Houston (hereinafter the “Site”) from 2001 to 2018 and was living on base at the Site during that

          time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff has




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          been diagnosed with Asthma, Diabetes, High Blood Pressure, Kidney and Bladder Problems,

          Thyroid Disease.

                 33.     Plaintiff Taurus Blackmon resides at P.O. Box 52, Akron, AL 35441. Plaintiff was

          formerly stationed at US Naval Weapon Station Yorktown; Newport News Shipyard (hereinafter

          the “Site”) from 1992 to 1993 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their health.

          As a direct and proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with High

          Cholesterol, Thyroid Disease, Kidney Cancer.

                 34.     Plaintiff Mary Taylor resides at 290 Burlington Dr., San Antonio, TX 78245.

          Plaintiff was formerly stationed at Lackland AFB; JBSA Randolph; Osan US AFB; NAS Base FT.

          Worth; Elmendorf AFB; Lakeland AFB; Osan Air Base; Travis AFB; Carswell AFB (hereinafter

          the “Site”) from 1971 to 1991 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their health.

          As a direct and proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Thyroid

          Disease.

                 35.     Plaintiff Bernie Ray Underwood Jr. resides at PO Box 176, Savanna, OK 74565.

          Plaintiff was formerly stationed at FT. Benning; FT. Lee; Joint Base Lewis-McChord (hereinafter

          the “Site”) from 1988 to 1992 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed



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          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their health.

          As a direct and proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Arthritis,

          Depression, High Blood Pressure, Thyroid Disease.

                 36.     Plaintiff Matthew Sackett resides at 102 Hillwood Dr, Harriman, TN 37748.

          Plaintiff was formerly stationed at England AFB; Joint Base Charleston; Ramstein Air Base

          (hereinafter the “Site”) from 1983 to 2000 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff has

          been diagnosed with Thyroid Disease.

                 37.     Plaintiff Richard Hall resides at 8425 Beverly Pl, El Paso, TX 79907. Plaintiff was

          formerly stationed at FT. Sill; FT. Bliss; FT. Bragg (hereinafter the “Site”) from 1976 to 2000 and

          was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Thyroid Cancer.

                 38.     Plaintiff Jonathan Phelan resides at 859 N.W. Poplar Pl., Redmond, OR 97756.

          Plaintiff was formerly stationed at Camp Lejeune; MCAS El Toro; MCB Camp Pendleton; MCAS

          Miramar; MCAS Iwakui (hereinafter the “Site”) from 1989 to 2009 and was living on base at the

          Site during that time. While living on base at the Site, Claimant was exposed to PFAS through



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          daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

          been exposed for many years to PFAS as a result of the PFAS contamination at the Site, including

          at concentrations hazardous to their health. As a direct and proximate result of Plaintiff’s exposure,

          Plaintiff has been diagnosed with Kidney Cancer, Renal Cell Carcinoma.

                 39.     Plaintiff Thomas Brown resides at 101 Kingsley Ave, Pueblo, CO 81005. Plaintiff

          was formerly stationed at RTC San Diego; Cherry Point Naval Hospital; FT. Bragg (hereinafter

          the “Site”) from 1979 to 1981. While living on base at the Site, Claimant was exposed to PFAS

          through daily activity and regularly consumed water containing elevated levels of PFAS. Claimant

          has been exposed for many years to PFAS as a result of the PFAS contamination at the Site,

          including at concentrations hazardous to their health. As a direct and proximate result of Plaintiff’s

          exposure, Plaintiff has been diagnosed with Thyroid Disease, Kidney Cancer.

                 40.     Plaintiff Jason Armentrout resides at 6 Stevens Pl, Portsmith, VA 23702. Plaintiff

          was formerly stationed at Tinker AFB (hereinafter the “Site”) from 1993 to 2001 and was living

          on base at the Site during that time. While living on base at the Site, Tolbert was exposed to PFAS

          through daily activity and regularly consumed water containing elevated levels of PFAS. Tolbert

          has been exposed for many years to PFAS as a result of the PFAS contamination at the Site,

          including at concentrations hazardous to their health. As a direct and proximate result of Plaintiff’s

          exposure, Plaintiff has been diagnosed with ADHD, Anxiety, Depression, GERD, Thyroid Disease,

          Irritable Bowel Syndrome, Skin Cancer.

                 41.     Plaintiff Andrew Bennett Jr. resides at 1840 Market St Apt 610, Youngstown, OH

          44507. Plaintiff was formerly stationed at FT. Bragg; FT. Campbell; FT. Sill; Pope AFB; FT.

          Benning; JBSA FT. Sam Houston; US Disciplinary Barracks (hereinafter the “Site”) from 1978 to

          1981 and was living on base at the Site during that time. While living on base at the Site, Plaintiff



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          was exposed to PFAS through daily activity and regularly consumed water containing elevated

          levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with High Blood Pressure,

          High Cholesterol, Prostate Cancer.

                 42.     Plaintiff Douglas Williams resides at 315 Bentley Way, Fayetteville, GA 30214.

          Plaintiff was formerly stationed at Eglin AFB; McChord AFB; Lackland AFB; Davis-Monthan

          AFB; Rhein Main Air Base (hereinafter the “Site”) from 1980 to 1991 was living on base at the

          Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

          daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

          been exposed for many years to PFAS as a result of the PFAS contamination at the Site, including

          at concentrations hazardous to their health. As a direct and proximate result of Plaintiff’s exposure,

          Plaintiff has been diagnosed with Kidney Cancer, Prostate Cancer.

                 43.     Plaintiff Kenneth Kilgore resides at 360 Woodland Dr, Ider, AL 35981. Plaintiff

          was formerly stationed at NAS Jacksonville (hereinafter the “Site”) from 1972 to 1976 and was

          living on base at the Site during that time. While living on base at the Site, Claimant was exposed

          to PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff’s exposure, Plaintiff has been diagnosed with Diabetes, High Blood Pressure, Prostate

          Cancer.

                 44.     Plaintiff Brandon Aiken resides at 8601 W Miami St, Tolleson, AZ 85353. Plaintiff

          was formerly stationed at Ellsworth AFB; Luke AFB (hereinafter the “Site”) from 1998 to 2007



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          and living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff’s exposure, Timothy Allen Reddin has been diagnosed with Erectile

          Dysfunction, High Cholesterol, Infertility, Lymphoma, PTSD, Testicular Cancer.

                 45.     Plaintiff Savedra Cain resides at 1017 22 St. SW, Birmingham, AL 35211. Plaintiff

          was formerly stationed at NAS Oceana Naval Base; Naval Station Norfolk (hereinafter the “Site”)

          from 2006 to 2008 was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Thyroid Disease.

                 46.     Plaintiff James Lauderdale resides at 2269 Bright Star Rd., Douglasville, GA 30135.

          Plaintiff was formerly stationed at Joint Base Lackland; Chanute AFB; Columbus AFB;

          Spangdahlem Air Base (hereinafter the “Site”) from 1973 to 1975 was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff’s exposure,

          Plaintiff has been diagnosed with High Cholesterol, Thyroid Disease, Kidney Cancer.

                 47.     Plaintiff Brandy Schafer resides at 14 Horseshoe Ln, Mcloud, OK 74851. Plaintiff

          was formerly stationed at Nellis AFB; Sheppard AFB; Aviano NATO Base (hereinafter the “Site”)



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          from 2001 to 2007 was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Birth Defect,

          Testicular Cancer.

                 48.     Plaintiff Ralph Johnson resides at 148 Estate Court, Union Springs, AL 36089.

          Plaintiff was formerly stationed at FT. Lewis; FT. Hood (hereinafter the “Site”) from 1978 to 1990

          was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Prostate Cancer.

                 49.     Plaintiff Tucker Hunt resides at 126 N Gay St, Cambridge City, IN 47327. Plaintiff

          was formerly stationed at Chicago Bootcamp; Fortland Woodland, MO; NCBCG Gulfport, MS

          (hereinafter the “Site”) from 2001 to 2005 was living on base at the Site during that time. While

          living on base at the Site, Claimant was exposed to PFAS through daily activity and regularly

          consumed water containing elevated levels of PFAS. Claimant has been exposed for many years

          to PFAS as a result of the PFAS contamination at the Site, including at concentrations hazardous

          to their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed

          with Ulcerative Colitis.

                 50.     Plaintiff Edward Pacich resides at 227 McCombs Rd, Venetia, PA 15367. Plaintiff

          was formerly stationed at Jacksonville Naval Base (hereinafter the “Site”) from 1985 to 1989 was



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          living on base at the Site during that time. While living on base at the Site, Claimant was exposed

          to PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff’s exposure, Plaintiff has been diagnosed with Thyroid Disease.

                 51.     Plaintiff James Sapp resides at 3926 Hanley Rd. #338, Freeport, TX 77541.

          Plaintiff was formerly stationed at Camp Lejeune; Aberdeen Proving Grounds; FT. Hood

          (hereinafter the “Site”) from 1972 to 1975 was living on base at the Site during that time. While

          living on base at the Site, Claimant was exposed to PFAS through daily activity and regularly

          consumed water containing elevated levels of PFAS. Claimant has been exposed for many years

          to PFAS as a result of the PFAS contamination at the Site, including at concentrations hazardous

          to their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed

          with Thyroid Disease.

                 52.     Plaintiff Diane Holmes resides at 7107 Broadway Apt # 177, Lemongrove, CA

          91945. Plaintiff was formerly stationed at Parris Island, SC; Norfolk, VA; Camp Pendleton Marine

          Corps base (hereinafter the “Site”) from 1985 to 1989 was living on base at the Site during that

          time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff has

          been diagnosed with Thyroid Disease.

                 53.     Plaintiff William Rowe resides at 1835 Heather Ct., Indianapolis, IN 46229.

          Plaintiff was formerly stationed at Oceanside, CA; Okinawa, JP; Naples; 29 Palms, CA



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          (hereinafter the “Site”) from 1982 to 1993 was living on base at the Site during that time. While

          living on base at the Site, Claimant was exposed to PFAS through daily activity and regularly

          consumed water containing elevated levels of PFAS. Claimant has been exposed for many years

          to PFAS as a result of the PFAS contamination at the Site, including at concentrations hazardous

          to their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed

          with High Blood Pressure, Kidney Cancer, Thyroid Disease.

                 54.     Plaintiff Nancy Radtke resides at PO Box 80312, Toledo, OH 43608. Plaintiff was

          formerly stationed at Orlando Naval Base (hereinafter the “Site”) from 1973 to 1974 was living

          on base at the Site during that time. While living on base at the Site, Claimant was exposed to

          PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff’s exposure, Plaintiff has been diagnosed with Thyroid Disease.

                 55.     Plaintiff Javier Longoria resides at 1811 N Fm 2360, Rio Grande City, TX 78582.

          Plaintiff was formerly stationed at FT. Jackson; FT. Gordon; Joint Base Camp Bullis; FT. Bliss;

          Barton Barracks; Charlie (C) Battery, Augsburg, Germany (hereinafter the “Site”) from 1976 to

          1984 was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Thyroid Cancer.

                 56.     Plaintiff Ricky Milledge resides at 1014 Rumsey St., Kiowa, KS 67070. Plaintiff

          was formerly stationed at FT. Polk (hereinafter the “Site”) from 1972 to 1974 was living on base



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          at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

          through daily activity and regularly consumed water containing elevated levels of PFAS. Claimant

          has been exposed for many years to PFAS as a result of the PFAS contamination at the Site,

          including at concentrations hazardous to their health. As a direct and proximate result of Plaintiff’s

          exposure, Plaintiff has been diagnosed with Liver Cancer, Prostate Cancer.

                 57.     Plaintiff Kathleen Flynn resides at 2530 Pine St., Granite City, IL 62040. Plaintiff

          was formerly stationed at FT. Bragg; Camp Pendleton; Camp Lejeune; 29 Palms; Kanoe Bay, HI

          (hereinafter the “Site”) from 1978 to 1989 was living on base at the Site during that time. While

          living on base at the Site, Claimant was exposed to PFAS through daily activity and regularly

          consumed water containing elevated levels of PFAS. Claimant has been exposed for many years

          to PFAS as a result of the PFAS contamination at the Site, including at concentrations hazardous

          to their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed

          with Arthritis, Ovarian Cancer, Ulcerative Colitis.

                 58.     Plaintiff Randi Barnes resides at 502 Montrose Drive, Mt. Juliette, TN 37122.

          Plaintiff was formerly stationed at FT. McCellan; FT. Polk; Joint Base McGuire-Dix-Lakehurst;

          FT. Belvoir; FT. Knox; SWA (hereinafter the “Site”) from 1981 to 1992 was living on base at the

          Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

          daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

          been exposed for many years to PFAS as a result of the PFAS contamination at the Site, including

          at concentrations hazardous to their health. As a direct and proximate result of Plaintiff’s exposure,

          Plaintiff has been diagnosed with Digestive Problems, High Blood Pressure, High Cholesterol,

          Joints aching/pains, numbness, Learning Impairment, Memory Loss, Parkinsons Disease,

          Pregnancy Problems, Respiratory Problems, Sleep Problems, Thyroid Disease.



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                 59.     Plaintiff Sebastian Rice resides at 2662 Cascade Bend Dr, Burford, GA 30519.

          Plaintiff was formerly stationed at McGuire AFB; Lackland AFB (hereinafter the “Site”) from

          1986 to 1991 was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Cancer, Prostate

          Cancer.

                 60.     Plaintiff Ronald D. Ledford resides at Po Box 285, Charleston, TN 37310. Plaintiff

          was formerly stationed at FT. Knox; FT. Benning; FT. Lee; FT. Carson; FT. McCelland; FT.

          Belvior; FT. Bragg (hereinafter the “Site”) from 1976 to 1979 was living on base at the Site during

          that time. While living on base at the Site, Claimant was exposed to PFAS through daily activity

          and regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff has

          been diagnosed with High Blood Pressure, High Cholesterol, Ulcerative Colitis.

                 61.     Plaintiff William Greene resides at 19 Greenbrier Dr., Westampton, NJ 08060.

          Plaintiff was formerly stationed at FT. Dix; JB MDL (hereinafter the “Site”) from 1979 to 1983

          was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Prostate Cancer.



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                 62.     Plaintiff Harold Taylor resides at 308 Shoppe Court, Antioch, TN 37013. Plaintiff

          was formerly stationed at Quantico Station, VA (hereinafter the “Site”) and was living on base at

          the Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

          daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

          been exposed for many years to PFAS as a result of the PFAS contamination at the Site, including

          at concentrations hazardous to their health. As a direct and proximate result of Plaintiff’s exposure,

          Plaintiff has been diagnosed with High Blood Pressure, High Cholesterol, Prostate Cancer.

                 63.     Plaintiff Ray Tate resided at 750 A Walker Road, Jackson, TN 38305. Plaintiff was

          formerly stationed at McConnell AFB, Jacksonville AFB, Minor AFB, and Seymouor Johnson,

          NC (hereinafter the “Site”) and was living on base at the Site for all times relevant hereing. While

          living on base at the Site, Claimant was exposed to PFAS through daily activity and regularly

          consumed water containing elevated levels of PFAS. Claimant was exposed for many years to

          PFAS as a result of the PFAS contamination at the Site, including at concentrations hazardous to

          their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff was diagnosed with

          Kidney disease and liver problems.

                 64.     Plaintiff Gilbert Torres resides at 10065 Ontario St., El Paso, TX 79924. Plaintiff

          was formerly stationed at USS Bradley; Guam; San Diego Naval Base; USS San Jose A.FS-7

          (hereinafter the “Site”) from 1983 to 1987 was living on base at the Site during that time. While

          living on base at the Site, Claimant was exposed to PFAS through daily activity and regularly

          consumed water containing elevated levels of PFAS. Claimant has been exposed for many years

          to PFAS as a result of the PFAS contamination at the Site, including at concentrations hazardous

          to their health. As a direct and proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed

          with Ulcerative Colitis.



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                 65.     Plaintiff Melvineice Holloman resides at 526 Rivers Reach, Virginia Beach, VA

          23452. Plaintiff was formerly stationed at Fort Bragg (hereinafter the “Site”) from 1983 to 1984

          was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff’s exposure, Plaintiff has been diagnosed with Cancer, Ulcerative

          Colitis, Uterine Cancer.

                 66.     Plaintiff David W. McCord resides at 1201 E Eastbrook Drive, Kings Port, TN

          37663. Plaintiff was formerly stationed at FT. Jackson; FT. Benning; FT. McClellan; 142nd MPCo;

          272nd MPCo; 24th MPCo (hereinafter the “Site”) from 1976 to 1984 was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff’s exposure,

          Plaintiff has been diagnosed with High Blood Pressure, High Cholesterol, Prior Existing Condition

          - Exacerbation, Thyroid Disease.

                 67.     Personnel at the Site stored, handled, used, trained with, tested equipment with,

          otherwise discharged AFFF products in their facility, therefore contaminating groundwater

          supplies in the vicinity of the base.

                 68.     Plaintiffs have been exposed to PFAS, have elevated levels of these contaminants

          in their blood, and are at an increased risk of health effects, changes in thyroid hormone, kidney

          cancer, and other autoimmune diseases.



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                  69.     Plaintiffs have a legitimate fear of developing additional injuries as a result of their

          exposure to PFAS, including but not limited to effects on the liver and immune system, high

          cholesterol levels, changes in thyroid hormone, kidney cancer and other autoimmune diseases.

                  B.      Defendants

                  70.     The term “Defendants” refers to all Defendants named herein jointly and severally.

                            i.    The AFFF Defendants

                  71.     The term “AFFF Defendants” refers collectively to Defendants 3M Company,

          Angus International Safety Group, Ltd., Amerex Corporation, Buckeye Fire Equipment Company,

          Carrier Global Corporation, Central Sprinkler, LLC, Chemguard Inc., Fire Products GP Holding,

          LLC, Johnson Controls International PLC, Kidde-Fenwal, Inc., and Tyco Fire Products L.P.,

                  72.     Defendant The 3M Company f/k/a Minnesota Mining and Manufacturing Co.

          (“3M”) is a corporation organized and existing under the laws of the State of Delaware, with its

          principal place of business located at 3M Center, St. Paul, Minnesota 55144-1000.

                  73.     Beginning before 1970 and until at least 2002, 3M designed, manufactured,

          marketed, distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

          PFOS.

                  74.     Defendant Amerex Corporation (“Amerex”) is a corporation organized and

          existing under the laws of the State of Alabama, with its principal place of business located at 7595

          Gadsden Highway, Trussville, AL 35173.

                  75.     Amerex is a manufacturer of firefighting products. Beginning in 1971, it was a

          manufacturer of hand portable and wheeled extinguishers for commercial and industrial

          applications.

                  76.     In 2011, Amerex acquired Solberg Scandinavian AS, one of the largest

          manufacturers of AFFF products in Europe.

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                  77.      On information and belief, beginning in 2011, Amerex designed, manufactured,

          marketed distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

          PFOS.

                  78.      Defendant Tyco Fire Products LP (“Tyco”) is a limited partnership organized

          under the laws of the State of Delaware, with its principal place of business located at One Stanton

          Street, Marinette, Wisconsin 54143-2542.

                  79.      Tyco is the successor in interest of The Ansul Company (“Ansul”), having acquired

          Ansul in 1990.

                  80.      Beginning in or around 1975, Ansul designed, manufactured, marketed, distributed,

          and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

                  81.      After Tyco acquired Ansul in 1990, Tyco/Ansul continued to design, manufacture,

          market, distribute, and sell AFFF products containing PFAS, including but not limited to PFOA

          and PFOS.

                  82.      Defendant Chemguard, Inc. (“Chemguard”) is a corporation organized under

          the laws of the State of Texas, with its principal place of business located at One Stanton Street,

          Marinette, Wisconsin 54143.

                  83.      On information and belief, Chemguard designed, manufactured, marketed,

          distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and

          PFOS.

                  84.      On information and belief, Chemguard was acquired by Tyco International Ltd. in

          2011.




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                 85.     On information and belief, Tyco International Ltd. later merged into its subsidiary

          Tyco International plc in 2014 to change its jurisdiction of incorporation from Switzerland to

          Ireland.

                 86.     Defendant Buckeye Fire Equipment Company (“Buckeye”) is a corporation

          organized under the laws of the State of Ohio, with its principal place of business located at 110

          Kings Road, Kings Mountain, North Carolina 28086.

                 87.     On information and belief, Buckeye designed, manufactured, marketed, distributed,

          and sold AFFF products containing PFAS, including but not limited to PFOA and PFOS.

                 88.     Defendant Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized

          under the laws of the State of Delaware, with its principal place of business at One Financial Plaza,

          Hartford, Connecticut 06101.

                 89.     On information and belief, Kidde-Fenwal was an operating subsidiary of Kidde

          P.L.C. and manufactured AFFF following Kidde P.L.C.’s acquisition by United Technologies

          Corporation.

                 90.     On information and belief, Kidde-Fenwal is the entity that divested the AFFF

          business unit now operated by National Foam in 2013.

                 91.     Defendant Carrier Global Corporation (“Carrier”) is a corporation organized

          under the laws of the State of Delaware, with its principal place of business at 13995 Pasteur

          Boulevard, Palm Beach Gardens, Florida 33418.

                 92.     On information and belief, Carrier was formed in March 2020 when United

          Technologies Corporation spun off its fire and security business before it merged with Raytheon

          Company in April 2020.




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                 93.     On information and belief, Kidde-Fenwal became a subsidiary of Carrier when

          United Technologies Corporation spun off its fire and security business in March 2020.

                 94.     On information and belief, the AFFF Defendants designed, manufactured,

          marketed, distributed, and sold AFFF products containing PFOS, PFOA, and/or their chemical

          precursors that were stored, handled, used, trained with, tested equipment with, otherwise

          discharged, and/or disposed at the Sites.

                           ii.   The Fluorosurfactant Defendants

                 95.     The term “Fluorosurfactant Defendants” refers collectively to Defendants 3M,

          Arkema Inc., ChemDesign Products Incorporated, Chemguard Inc., Deepwater Chemicals, Inc.,

          E.I. DuPont de Nemours and Company, The Chemours Company, The Chemours Company FC,

          LLC, DuPont de Nemours Inc., and Dynax Corporation.

                 96.     Defendant Arkema Inc. is a corporation organized and existing under the laws of

          Pennsylvania, with its principal place of business at 900 First Avenue, King of Prussia, PA 19406.

                 97.     Arkema Inc. develops specialty chemicals and polymers.

                 98.     Arkema, Inc. is an operating subsidiary of Arkema France, S.A.

                 99.     On information and belief, Arkema Inc. designed, manufactured, marketed,

          distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

          for use in AFFF products.

                 100.    Defendant ChemDesign Products Inc. (“ChemDesign”) is a corporation

          organized under the laws of Delaware, with its principal place of business located at 2 Stanton

          Street, Marinette, WI, 54143.

                 101.    On information and belief, ChemDesign designed, manufactured, marketed,

          distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

          for use in AFFF products
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                 102.    Defendant Deepwater Chemicals, Inc. (“Deepwater”) is a corporation organized

          under the laws of Delaware, with its principal place of business located at 196122 E County Road

          40, Woodward, OK, 73801.

                 103.    On information and belief, Deepwater Chemicals designed, manufactured,

          marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

          precursors for use in AFFF products

                 104.    Defendant Dynax Corporation (“Dynax”) is a corporation organized under the

          laws of the State of Delaware, with its principal place of business located at 103 Fairview Park

          Drive, Elmsford, New York 10523.

                 105.    On information and belief, Dynax entered into the AFFF market on or about 1991

          and quickly became a leading global producer of fluorosurfactants and fluorochemical stabilizers

          containing PFOS, PFOA, and/or their chemical precursors.

                 106.    On information and belief, Dynax designed, manufactured, marketed, distributed,

          and sold fluorosurfactants and fluorochemical stabilizers containing PFOS, PFOA, and/or their

          chemical precursors for use in AFFF products.

                 107.    Defendant E.I. du Pont de Nemours & Company (“DuPont”) is a corporation

          organized under the laws of the State of Delaware, with its principal place of business located at

          974 Centre Road, Wilmington, Delaware 19805.

                 108.    Defendant The Chemours Company (“Chemours Co.”) is a limited liability

          company organized under the laws of the State of Delaware, with its principal place of business

          located at 1007 Market Street, P.O. Box 2047, Wilmington, Delaware, 19899.

                 109.    In 2015, DuPont spun off its performance chemicals business to Chemours Co.,

          along with vast environmental liabilities which Chemours Co. assumed, including those related to



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          PFOS and PFOA and fluorosurfactants. On information and belief, Chemours Co. has supplied

          fluorosurfactants containing PFOS and PFOA, and/or their chemical precursors to manufacturers

          of AFFF products.

                 110.       On information and belief, Chemours Co. was incorporated as a subsidiary of

          DuPont as of April 30, 2015. From that time until July 2015, Chemours Co. was a wholly-owned

          subsidiary of DuPont.

                 111.       In July 2015, DuPont spun off Chemours Co. and transferred to Chemours Co. its

          “performance chemicals” business line, which includes its fluoroproducts business, distributing

          shares of Chemours Co. stock to DuPont stockholders, and Chemours Co. has since been an

          independent, publicly-traded company.

                 112.       Defendant The Chemours Company FC, LLC (“Chemours FC”) is a limited

          liability company organized under the laws of the State of Delaware, with its principal place of

          business located at 1007 Market Street, Wilmington, Delaware, 19899.

                 113.       Defendant Corteva, Inc. (“Corteva”) is a corporation organized and existing

          under the laws of Delaware, with its principal place of business at 974 Centre Rd., Wilmington,

          Delaware 19805.

                 114.       Defendant Dupont de Nemours Inc. f/k/a DowDuPont, Inc. (“Dupont de

          Nemours Inc.”) is a corporation organized and existing under the laws of Delaware, with its

          principal place of business at 974 Centre Road, Wilmington, Delaware 19805 and 2211 H.H. Dow

          Way, Midland, Michigan 48674.

                 115.       On June 1, 2019, DowDuPont separated its agriculture business through the spin-

          off of Corteva.




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                 116.    Corteva was initially formed in February 2018. From that time until June 1, 2019,

          Corteva was a wholly-owned subsidiary of DowDuPont.

                 117.    On June 1, 2019, DowDuPont distributed to DowDuPont stockholders all issued

          and outstanding shares of Corteva common stock by way of a pro-rata dividend. Following that

          distribution, Corteva became the direct parent of E. I. Du Pont de Nemours & Co.

                 118.    Corteva holds certain DowDuPont assets and liabilities, including DowDuPont’s

          agriculture and nutritional businesses.

                 119.    On June 1, 2019, DowDuPont, the surviving entity after the spin-off of Corteva and

          of another entity known as Dow, Inc., changed its name to DuPont de Nemours, Inc., to be known

          as DuPont (“New DuPont”). New DuPont retained assets in the specialty products business lines

          following the above-described spin-offs, as well as the balance of the financial assets and liabilities

          of E.I DuPont not assumed by Corteva.

                 120.    Defendants E. I. Du Pont de Nemours and Company; The Chemours Company;

          The Chemours Company FC, LLC; Corteva, Inc.; and DuPont de Nemours, Inc. are collectively

          referred to as “DuPont” throughout this Complaint.

                 121.    On information and belief, DuPont designed, manufactured, marketed, distributed,

          and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors for use in

          AFFF products.

                 122.    On information and belief, 3M and Chemguard also designed, manufactured,

          marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

          precursors for use in AFFF products.

                 123.    On information and belief, the Fluorosurfactant Defendants                    designed,

          manufactured, marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or



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          their chemical precursors for use in AFFF products that were stored, handled, used, trained with,

          tested equipment with, otherwise discharged, and/or disposed at the Sites.

                          iii.   The PFC Defendants

                 124.    The term “PFC Defendants” refers collectively to 3M, AGC Chemicals Americas

          Inc., Archroma U.S. Inc., ChemDesign Products Inc., Chemicals, Inc., Clariant Corporation,

          Deepwater Chemicals, Inc., E. I. DuPont de Nemours and Company, The Chemours Company,

          The Chemours Company FC, LLC, Corteva, Inc., DuPont de Nemours Inc., and Nation Ford

          Chemical Company.

                 125.    Defendant AGC Chemicals Americas, Inc. (“AGC”) is a corporation organized

          and existing under the laws of Delaware, having its principal place of business at 55 East Uwchlan

          Avenue, Suite 201, Exton, PA 19341.

                 126.    On information and belief, AGC Chemicals Americas, Inc. was formed in 2004 and

          is a subsidiary of AGC Inc., a foreign corporation organized under the laws of Japan, with its a

          principal place of business in Tokyo, Japan.

                 127.    AGC manufactures specialty chemicals. It offers glass, electronic displays, and

          chemical products, including resins, water and oil repellants, greenhouse films, silica additives,

          and various fluorointermediates.

                 128.    On information and belief, AGC designed, manufactured, marketed, distributed,

          and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing

          the fluorosurfactants used in AFFF products.

                 129.    Defendant Archroma U.S., Inc. (“Archroma”) is a corporation organized and

          existing under the laws of Delaware, with its a principal place of business at 5435 77 Center Drive,

          Charlotte, North Carolina 28217.



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                 130.    On information and belief, Archroma was formed in 2013 when Clariant

          Corporation divested its textile chemicals, paper specialties, and emulsions business to SK Capital

          Partners.

                 131.    On information and belief, Archroma designed, manufactured, marketed,

          distributed, and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

          manufacturing the fluorosurfactants used in AFFF products.

                 132.    Defendant Chemicals, Inc. (“Chemicals, Inc.”) is a corporation organized and

          existing under the laws of Texas, with its principal place of business located at 12321 Hatcherville,

          Baytown, TX 77520.

                 133.    On information and belief, Chemicals, Inc. supplied PFCs containing PFOS,

          PFOA, and/or their chemical precursors for use in manufacturing the fluorosurfactants used in

          AFFF products.

                 134.    Defendant Clariant Corporation (“Clariant”) is a corporation organized and

          existing under the laws of New York, with its principal place of business at 4000 Monroe Road,

          Charlotte, North Carolina 28205.

                 135.    On information and belief, Clariant is the successor in interest to the specialty

          chemicals business of Sandoz Chemical Corporation (“Sandoz”). On information and belief,

          Sandoz spun off its specialty chemicals business to form Clariant in 1995.

                 136.    On information and belief, Clariant supplied PFCs containing PFOS, PFOA, and/or

          their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF products.

                 137.    Defendant Nation Ford Chemical Co. (“Nation Ford”) is a corporation

          organized and existing under the laws of South Carolina, with its principal place of business

          located at 2300 Banks Street, Fort Mill, SC 29715.



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                 138.    On information and belief, Nation Ford supplied PFCs containing PFOS, PFOA,

          and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

          products.

                 139.    On information and belief, 3M, ChemDesign, Deepwater Chemicals, and DuPont

          also supplied PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

          manufacturing the fluorosurfactants used in AFFF products.

                 140.    On information and belief, the Fluorochemical Defendants supplied PFCs

          containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing the

          fluorosurfactants used in AFFF products that were stored, handled, used, trained with, tested

          equipment with, otherwise discharged, and/or disposed at the Sites.

                          iv.    Doe Defendants 1-20

                 141.    Doe Defendants 1-20 are unidentified entities or persons whose names are presently

          unknown and whose actions, activities, omissions         (a) may have permitted, caused and/or

          contributed to the contamination of Plaintiff’s water sources or supply wells; or (b) may be

          vicariously responsible for entities or persons who permitted, caused and/or contributed to the

          contamination of Plaintiff’s water sources or supply wells; or (c) may be successors in interest to

          entities or persons who permitted, caused and/or permitted , contributed to the contamination of

          Plaintiff’s water sources or supply wells. After reasonable search and investigation to ascertain the

          Doe Defendants actual names, the Doe Defendants’ actual identities are unknown to Plaintiff as

          they are not linked with any of the Defendants on any public source.

                 142.    The Doe Defendants 1-20 either in their own capacity or through a party they are

          liable for: (1) designed, manufactured, marketed, distributed, and/or sold AFFF products

          containing PFOS, PFOA, and/or their chemical precursors, and/or designed, manufactured,

          marketed, distributed, and/or sold the fluorosurfactants and/or PFCs contained in
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          AFFF/Component Products; or (2) used, handled, transported, stored, discharged, disposed of,

          designed, manufactured, marketed, distributed, and/or sold PFOS, PFOA, and/or their chemical

          precursors, or other non-AFFF products containing PFOS, PFOA, and/or their chemical

          precursors; or (3) failed to timely perform necessary and reasonable response and remedial

          measures to releases of PFOS, PFOA, and/or their chemical precursors, or other non-AFFF

          products containing PFOS, PFOA, and/or their chemical precursors in to the environment in which

          Plaintiff’s water supplies and well exist.

                 143.    All Defendants, at all times material herein, acted by and through their respective

          agents, servants, officers and employees, actual or ostensible, who then and there were acting

          within the course and scope of their actual or apparent agency, authority or duties. Defendants are

          liable based on such activities, directly and vicariously.

                 144.    Defendants represent all or substantially all of the market for AFFF/Component

          Products at the Sites.

                  FACTUAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION

                 A.      PFOA and PFOS and Their Risk to Public Health

                 145.    PFAS are chemical compounds containing fluorine and carbon. These substances

          have been used for decades in the manufacture of, among other things, household and commercial

          products that resist heat, stains, oil, and water. These substances are not naturally occurring and

          must be manufactured.

                 146.    The two most widely studied types of these substances are PFOA and PFOS.

                 147.    PFOA and PFOS have unique properties that cause them to be: (i) mobile and

          persistent, meaning that they readily spread into the environment where they break down very

          slowly; (ii) bioaccumulative and biomagnifying, meaning that they tend to accumulate in



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          organisms and up the food chain; and (iii) toxic, meaning that they pose serious health risks to

          humans and animals.

                 148.       PFOA and PFOS easily dissolve in water, and thus they are mobile and easily

          spread in the environment. PFOA and PFOS also readily contaminate soils and leach from the soil

          into groundwater, where they can travel significant distances.

                 149.       PFOA and PFOS are characterized by the presence of multiple carbon-fluorine

          bonds, which are exceptionally strong and stable. As a result, PFOA and PFOS are thermally,

          chemically, and biologically stable. They resist degradation due to light, water, and biological

          processes.

                 150.       Bioaccumulation occurs when an organism absorbs a substance at a rate faster than

          the rate at which the substance is lost by metabolism and excretion. Biomagnification occurs when

          the concentration of a substance in the tissues of organisms increases as the substance travels up

          the food chain.

                 151.       PFOA and PFOS bioaccumulate/biomagnify in numerous ways. First, they are

          relatively stable once ingested, so that they bioaccumulate in individual organisms for significant

          periods of time. Because of this stability, any newly ingested PFOA and PFOS will be added to

          any PFOA and PFOS already present. In humans, PFOA and PFOS remain in the body for years.

                 152.       PFOA and PFOS biomagnify up the food chain. This occurs, for example, when

          humans eat fish that have ingested PFOA and/or PFOS.

                 153.       The chemical structure of PFOA and PFOS makes them resistant to breakdown or

          environmental degradation. As a result, they are persistent when released into the environment.

                 154.       Exposure to PFAS is toxic and poses serious health risks to humans and animals.




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                  155.    PFAS are readily absorbed after consumption or inhalation and accumulate

          primarily in the bloodstream, kidney, and liver.

                  B.      Defendants’ Manufacture and Sale of AFFF/Component Products

                  156.    AFFF is a type of water-based foam that was first developed in the 1960s to

          extinguish hydrocarbon fuel-based fires.

                  157.    AFFF is a Class-B firefighting foam. It is mixed with water and used to extinguish

          fires that are difficult to fight, particularly those that involve petroleum or other flammable liquids.

                  158.    AFFF is synthetically formed by combining fluorine-free hydrocarbon foaming

          agents with fluorosurfactants. When mixed with water, the resulting solution produces an aqueous

          film that spreads across the surface of hydrocarbon fuel. This film provides fire extinguishment

          and is the source of the designation aqueous film-forming foam.

                  159.    Beginning in the 1960s, the AFFF Defendants designed, manufactured, marketed,

          distributed, and/or sold AFFF products that used fluorosurfactants containing either PFOS, PFOA,

          or the chemical precursors that degrade into PFOS and PFOA.

                  160.    AFFF can be made without the fluorosurfactants that contain PFOA, PFOS, and/or

          their precursor chemicals. Fluorine-free firefighting foams, for instance, do not release PFOA,

          PFOS, and/or their precursor chemicals into the environment.

                  161.    AFFF that contains fluorosurfactants, however, is better at extinguishing

          hydrocarbon fuel-based fires due to their surface-tension lowering properties, essentially

          smothering the fire and starving it of oxygen.

                  162.    The fluorosurfactants used in 3M’s AFFF products were manufactured by 3M’s

          patented process of electrochemical fluorination (“ECF”).

                  163.    The fluorosurfactants used in other AFFF products sold by the AFFF Defendants

          were manufactured by the Fluorosurfactant Defendants through the process of telomerization.
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                 164.      The PFCs the Fluorosurfactant Defendants needed to manufacture those

          fluorosurfactants contained PFOS, PFOA, and/or their chemical precursors and were designed,

          manufactured, marketed, distributed and/or sold by the PFC Defendants.

                 165.      On information and belief, the PFC and Fluorosurfactant Defendants were aware

          that the PFCs and fluorosurfactants they designed, manufactured, marketed, distributed, and/or

          sold would be used in the AFFF products designed, manufactured, marketed, distributed, and/or

          sold by the AFFF Defendants.

                 166.      On information and belief, the PFC and Fluorosurfactant Defendants designed,

          manufactured, marketed, distributed, and/or sold the PFC and/or fluorosurfactants contained in the

          AFFF products discharged into the environment at the Site during fire protection, training, and

          response activities, resulting in widespread PFAS contamination.

                 167.      On information and belief, the AFFF Defendants designed, manufactured,

          marketed, distributed, and/or sold the AFFF products discharged into the environment at the Site

          during fire protection, training, and response activities, resulting in widespread PFAS

          contamination.

                 C.        Defendants’ Knowledge of the Threats to Public Health and the Environment
                           Posed by PFOS and PFOA

                 168.      On information and belief, by at least the 1970s 3M and DuPont knew or should

          have known that PFOA and PFOS are mobile and persistent, bioaccumulative and biomagnifying,

          and toxic.

                 169.      On information and belief, 3M and DuPont concealed from the public and

          government agencies its knowledge of the threats to public health and the environment posed by

          PFOA and PFOS.




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                  170.     Some or all of the Defendants understood how stable the fluorinated surfactants

          used in AFFF are when released into the environment from their first sale to a customer, yet they

          failed to warn their customers or provide reasonable instruction on how to manage wastes

          generated from their products.

                              i.    1940s and 1950s: Early Warnings About the Persistence of AFFF

                  171.     In 1947, 3M started its fluorochemical program, and within four years, it began

          selling its PFOA to DuPont. The persistence and contaminating nature of the fluorosurfactants

          contained in AFFF products were understood prior to their commercial application at 3M’s Cottage

          Grove facility in Minnesota.

                  172.     The inventor of 3M’s ECF process was J.H. Simons. Simons’ 1948 patent for the

          ECF process reported that PFCs are “non-corrosive, and of little chemical reactivity,” and “do not

          react with any of the metals at ordinary temperatures and react only with the more chemically

          reactive metals such as sodium, at elevated temperatures.”1

                  173.     Simons further reported that fluorosurfactants produced by the ECF process do not

          react with other compounds or reagents due to the blanket of fluorine atoms surrounding the carbon

          skeleton of the molecule. 3M understood that the stability of the carbon-to-fluorine bonds

          prevented its fluorosurfactants from undergoing further chemical reactions or degrading under

          natural processes in the environment.2

                  174.     The thermal stability of 3M’s fluorosurfactants was also understood prior to

          commercial production. Simons’ patent application further discloses that the fluorosurfactants




               1
                 Simons, J. H., Fluorination of Organic Compounds, U.S. Patent No. 2,447,717. August 24, 1948, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1005.pdf.
               2
                 Simons, J. H., 1950. Fluorocarbons and Their Production. Fluorine Chemistry, 1(12): 401-422, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3008.pdf.

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          produced by the ECF process were thermally stable at temperatures up to 750° C (1382º F).

          Additional research by 3M expanded the understanding of the thermal stability of perfluorocarbon

          compounds.3

                        175.    Nowhere in any Material Safety Data Sheet for any of Defendants’

          AFFF/Component Products is information on the thermal stability of those products disclosed.

          Failure to disclose knowledge of the stability of the PFCs and fluorosurfactants used in AFFF

          products to customers is a failure to warn just how indestructible the AFFF’s ingredients are when

          released to unprotected water sources and even treatment plants.

                                  ii.    1960s: AFFF’s Environmental Hazards Come into Focus

                        176.    By at least the end of the 1960s, additional research and testing performed by 3M

          and DuPont indicated that fluorosurfactants, including at least PFOA, because of their unique

          chemical structure, were resistant to environmental degradation and would persist in the

          environment essentially unaltered if allowed to enter the environment.

                        177.    One 3M employee wrote in 1964: “This chemical stability also extends itself to all

          types of biological processes; there are no known biological organisms that are able to attack the

          carbon-fluorine bond in a fluorocarbon.”4 Thus, 3M knew by the mid-1960s that its surfactants

          were immune to chemical and biological degradation in soils and groundwater.

                        178.    3M also knew by 1964 that when dissolved, fluorocarbon carboxylic acids and

          fluorocarbon sulfonic acids dissociated to form highly stable perfluorocarboxylate and

          perfluorosulfonate ions. Later studies by 3M on the adsorption and mobility of FC-95 and FC-143



                 3
                     Bryce, T. J., 1950. Fluorocarbons - Their Properties and Wartime Development. Fluorine Chemistry, 1(13): 423-
          462.
               4
                  Bryce, H.G., Industrial and Utilitarian Aspects of Fluorine Chemistry (1964),                     available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3022.pdf.

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          (the ammonium salt of PFOA) in soils indicated very high solubility and very high mobility in

          soils for both compounds.5

                              iii.   1970s: Internal Studies Provide Evidence of Environmental and Health
                                     Risks

                    179.     By 1950, 3M knew that the fluorosurfactants used in its AFFF product(s) would

          not degrade when released to the environment, but would remain intact and persist. Two decades

          later—and after the establishment of a robust market of AFFFs using fluorosurfactants—3M

          finally got around to looking at the environmental risks that fluorosurfactants posed.

                    180.     An internal memo from 3M in 1971 states that “the thesis that there is ‘no natural

          sink’ for fluorocarbons obviously demands some attention.”6 Hence, 3M understood at the very

          least that the fluorosurfactant used in its AFFF products would, in essence, never degrade once it

          was released into the environment.

                    181.     By the mid-1970s, 3M and Ansul (and possibly other Defendants) had an intimate

          understanding of the persistent nature of PFCs. A 1976 study, for example, observed no

          biodegradation of FC-95, the potassium salt of PFOS; a result 3M characterized as “unsurprising”

          in light of the fact that “[b]iodegradation of FC 95 is improbable because it is completely

          fluorinated.”7

                    182.     In 1977, Ansul authored a report titled “Environmentally Improved AFFF,” which

          acknowledged that releasing AFFF into the environment could pose potential negative impacts to

          groundwater quality.8 Ansul wrote: “The purpose of this work is to explore the development of


              5
                 Technical Report Summary re : Adsorption of FC 95 and FC143 on Soil, Feb. 27, 1978, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1158.pdf.
              6
                Memorandum from H.G. Bryce to R.M. Adams re : Ecological Aspects of Fluorocarbons, Sept. 13, 1971,
          available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1088.pdf.
              7
                  Technical Report Summary, August 12, 1976 [3MA01252037].
              8
                  Ansul Co., Final Report: Environmentally Improved AFFF, N00173-76-C-0295, Marinette, WI, Dec. 13, 1977,

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          experimental AFFF formulations that would exhibit reduced impact on the environment while

          retaining certain fire suppression characteristic . . . improvements [to AFFF formulations] are

          desired in the environmental area, i.e., development of compositions that have a reduced impact

          on the environment without loss of fire suppression effectiveness.” Thus, Ansul knew by the mid-

          1970s that the environmental impact of AFFF needed to be reduced, yet there is no evidence that

          Ansul (or any other Defendant) ever pursued initiatives to do so.

                   183.     A 1978 3M biodegradation study likewise reported that an “extensive study

          strongly suggest[ed]” one of its PFCs is “likely to persist in the environment for extended period

          unaltered by metabolic attack.”9 A year later, a 3M study reported that one of its fluorosurfactants

          “was found to be completely resistant to biological test conditions,” and that it appeared waterways

          were the fluorosurfactant’s “environmental sink.”10

                   184.     In 1979, 3M also completed a comprehensive biodegradation and toxicity study

          covering investigations between 1975 and 1978. 11 More than a decade after 3M began selling

          AFFF containing fluorosurfactants it wrote: “there has been a general lack of knowledge relative

          to the environmental impact of these chemicals.” The report ominously asked, “If these materials

          are not biodegradable, what is their fate in the environment?”

                   185.     During the 1970s, 3M also learned that the fluorosurfactants used in AFFF

          accumulated in the human body and were “even more toxic” than previously believed.




          available at https://apps.dtic.mil/dtic/tr/fulltext/u2/a050508.pdf.
              9
                Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
          Fluorocarbons - II, Jan. 1, 1978, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1153.pdf.
              10
                 Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
          Fluorocarbons - III, July 19, 1978, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1179.pdf.
               11
                  Technical Report Summary, Final Comprehensive Report on FM 3422, Feb. 2, 1979, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2563.pdf.

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                   186.    In 1975, 3M learns that PFAS was present in the blood of the general population.12

          Since PFOA and PFOS are not naturally occurring, this finding should have alerted 3M to the

          possibility that their products were a source of this PFOS. The finding also should have alerted 3M

          to the possibility that PFOS might be mobile, persistent, bioaccumulative, and biomagnifying, as

          those characteristics could explain how PFOS from 3M's products ended up in human blood.

                   187.    In 1976, 3M found PFAS in the blood of its workers at levels “up to 1000 times

          ‘normal’ amounts of organically bound fluorine in their blood.”13 This finding should have alerted

          3M to the same issues raised by the prior year’s findings.

                   188.    Studies by 3M in 1978 showed that PFOA reduced the survival rate of fathead

          minnow fish eggs,14 that PFOS was toxic to monkeys,15 and that PFOS and PFOA were toxic to

          rats.16 In the study involving monkeys and PFOS, all of the monkeys died within days of ingesting

          food contaminated with PFOS.

                   189.    In 1979, 3M and DuPont discussed 3M’s discovery of PFOA in the blood of its

          workers and came to the same conclusion that there was “no reason” to notify the EPA of the

          finding.17


              12
                Memorandum from G.H. Crawford to L.C. Krogh et al. re: Fluorocarbons in Human Blood Plasma, Aug. 20,
          1975, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1118.pdf.
              13
                    3M     Chronology     –    Fluorochemicals  in  Blood,        Aug.     26,    1977,    available    at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1144.pdf.
              14
                  The Effects of Continuous Aqueous Exposure to 78.03 on Hatchability of Eggs and Growth and Survival of
          Fry           of          Fathead         Minnow,            June          1978,          available         at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1176.pdf.
               15
                   Ninety-Day Subacute Rhesus Monkey Toxicity Study, Dec. 18, 1978, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1191.pdf; Aborted FC95 Monkey Study, Jan. 2, 1979,
          available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1193.pdf.
               16
                   Acute Oral Toxicity (LD50) Study in Rats (FC-143), May 5, 1978, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1170.pdf; FC-95, FC-143 and FM-3422 – 90 Day
          Subacute Toxicity Studies Conducted at IRDC – Review of Final Reports and Summary, Mar. 20, 1979, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1199.pdf.
              17
                 Memorandum from R.A. Prokop to J.D. Lazerte re: Disclosure of Information on Levels of Fluorochemicals in
          Blood, July 26, 1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2723.pdf.

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                               iv.    1980s and 1990s: Evidence of AFFF’s Health Risks Continues to Mount

                     190.     By at least the end of the 1980s, additional research and testing performed by

          Defendants, including at least 3M and DuPont, indicated that elevated incidence of certain cancers

          and other adverse health effects, including elevated liver enzymes and birth defects, had been

          observed among workers exposed to such materials, including at least PFOA, but such data was

          not published, provided to governmental entities as required by law, or otherwise publicly

          disclosed at the time.

                     191.     In 1981, DuPont tested for and found PFOA in the blood of female plant workers

          Parkersburg, West Virginia. DuPont observed and documented pregnancy outcomes in exposed

          workers, finding two of seven children born to female plant workers between 1979 and 1981 had

          birth defects—one an “unconfirmed” eye and tear duct defect, and one a nostril and eye defect. 18

                     192.     In 1983, 3M researchers concluded that concerns about PFAS “give rise to concern

          for environmental safety,” including “legitimate questions about the persistence, accumulation

          potential, and ecotoxicity of fluorochemicals in the environment.”19 That same year, 3M completed

          a study finding that PFOS caused the growth of cancerous tumors in rats.20 This finding was later

          shared with DuPont and led them to consider whether “they may be obliged under their policy to

          call FC-143 a carcinogen in animals.”21




              18
                   C-8 Blood Sampling Results, available at http://tiny.cc/v8z1mz.
              19
                  3M Environmental Laboratory (EE & PC), Fate of Fluorochemicals - Phase II, May 20, 1983, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1284.pdf.
               20
                  Two Year Oral (Diet) Toxicity/Carcinogenicity Study of Fluorochemical FC-143 in Rats, Volume 1 of 4, Aug.
          29, 1987, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1337.pdf.
              21
                  Memorandum from R.G. Perkins to F.D. Griffith re: Summary of the Review of the FC-143 Two-Year Feeder
          Study Report to be presented at the January 7, 1988 meeting with DuPont, January 5, 1988, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1343.pdf.

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                  193.    In 1984, 3M documented a trend of increasing levels of PFOS in the bodies of 3M

          workers, leading one of the company’s medical officers to warn in an internal memo: “we must

          view this present trend with serious concern. It is certainly possible that . . . exposure opportunities

          are providing a potential uptake of fluorochemicals that exceeds excretion capabilities of the

          body.”22

                  194.    A 1997 material safety data sheet (“MSDS”) for a non-AFFF product made by 3M

          listed its only ingredients as water, PFOA, and other perfluoroalkyl substances and warned that the

          product includes “a chemical which can cause cancer.” The MSDS cited “1983 and 1993 studies

          conducted jointly by 3M and DuPont” as support for this statement. On information and belief, the

          MSDS for 3M’s AFFF products did not provide similar warnings or information.

                            v.    Defendants Hid What They Knew from the Government and the Public.

                  195.    Federal law requires chemical manufacturers and distributors to immediately notify

          the EPA if they have information that “reasonably supports the conclusion that such substance or

          mixture presents a substantial risk of injury to health or the environment.” Toxic Substances

          Control Act (“TSCA”) § 8(e), 15 U.S.C. § 2607(e)

                  196.    In April 2006, 3M agreed to pay EPA a penalty of more than $1.5 million after

          being cited for 244 violations of the TSCA, which included violations for failing to disclose studies

          regarding PFOS, PFOA, and other PFCs dating back decades.

                  197.    Likewise, in December 2005, the EPA announced it was imposing the “Largest

          Environmental Administrative Penalty in Agency History” against DuPont based on evidence that

          it violated the TSCA by concealing the environmental and health effects of PFOA.




               22
                  Memorandum from D.E. Roach to P.F. Riehle re: Organic Fluorine Levels, Aug. 31, 1984, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1313.pdf.

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                  198.    On information and belief, Defendants knew or should have known that AFFF

          containing PFOA or PFOS would very likely injure and/or threaten public health and the

          environment, even when used as intended or directed.

                  199.    Defendants failed to warn of these risks to the environment and public health,

          including the impact of their AFFF/Component Products on the quality of unprotected water

          sources.

                  200.    Defendants were all sophisticated and knowledgeable in the art and science of

          designing, formulating, and manufacturing AFFF/Component Products. They understood far more

          about the properties of their AFFF/Component Products—including the potential hazards they

          posed to human health and the environment—than any of their customers. Still, Defendants

          declined to use their sophistication and knowledge to design safer products.

                  D.      The Impact of PFOS and PFOA on the Environment and Human Health Is
                          Finally Revealed

                  201.    As discussed above, neither 3M, DuPont, nor, on information and belief, any other

          Defendant complied with their obligations to notify EPA about the “substantial risk of injury to

          health or the environment” posed by their AFFF/Component Products. See TSCA § 8(e).

                  202.    Despite decades of research, 3M first shared its concerns with EPA in the late

          1990s. In a May 1998 report submitted to EPA, “3M chose to report simply that PFOS had been

          found in the blood of animals, which is true but omits the most significant information,” according

          to a former 3M employee.23

                  203.    On information and belief, 3M began in 2000 to phase out its production of products

          that contained PFOS and PFOA in response to pressure from the EPA.



               23
                      Letter       from        R.      Purdy,     Mar.       28,   1999,       available   at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1001.pdf.

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                 204.    Once the truth about PFOS and PFOA was revealed, researchers began to study the

          environmental and health effects associated with them, including a “C8 Science Panel” formed out

          of a class action settlement arising from contamination from DuPont’s Washington Works located

          in Wood County, West Virginia.

                 205.    The C8 panel consisted of three epidemiologists specifically tasked with

          determining whether there was a probable link between PFOA exposure and human diseases. In

          2012, the panel found probable links between PFOA and kidney cancer, testicular cancer,

          ulcerative colitis, thyroid disease, pregnancy-induced hypertension (including preeclampsia), and

          hypercholesterolemia.

                 206.    Human health effects associated with PFOS exposure include immune system

          effects, changes in liver enzymes and thyroid hormones, low birth weight, high uric acid, and high

          cholesterol. In laboratory testing on animals, PFOA and PFOS have caused the growth of tumors,

          changed hormone levels, and affected the function of the liver, thyroid, pancreas, and immune

          system.

                 207.    The injuries caused by PFAS can arise months or years after exposure.

                 208.    Even after the C8 Science Panel publicly announced that human exposure to 50

          parts per trillion, or more, of PFOA in drinking water for one year or longer had “probable links”

          with certain human diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid

          disease, preeclampsia, and medically-diagnosed high cholesterol, Defendants repeatedly assured

          and represented to governmental entities, their customers, and the public (and continue to do so)

          that the presence of PFOA in human blood at the levels found within the United States presents no

          risk of harm and is of no legal, toxicological, or medical significance of any kind.




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                   209.    Furthermore, Defendants have represented to and assured such governmental

          entities, their customers, and the public (and continue to do so) that the work of the independent

          C8 Science Panel was inadequate to satisfy the standards of Defendants to prove such adverse

          effects upon and/or any risk to humans with respect to PFOA in human blood.

                   210.    At all relevant times, Defendants, through their acts and/or omissions, controlled,

          minimized, trivialized, manipulated, and/or otherwise influenced the information that was

          published in peer-review journals, released by any governmental entity, and/or otherwise made

          available to the public relating to PFAS in human blood and any alleged adverse impacts and/or

          risks associated therewith, effectively preventing the public from discovering the existence and

          extent of any injuries/harm as alleged herein.

                   211.    On May 2, 2012, the EPA published its Third Unregulated Contaminant Monitoring

          Rule (“UCMR3”), requiring public water systems nationwide to monitor for thirty contaminants

          of concern between 2013 and 2015, including PFOS and PFOA.24

                   212.    In the May 2015 “Madrid Statement on Poly- and Perfluoroalkyl Substances

          (PFAS’s),” scientists and other professionals from a variety of disciplines, concerned about the

          production and release into the environment of PFOA, called for greater regulation, restrictions,

          limits on the manufacture and handling of any PFOA containing product, and to develop safe non-

          fluorinated alternatives to these products to avoid long-term harm to human health and the

          environment.25




              24
                 Revisions to the Unregulated Contaminant Monitoring Regulation (UCMR 3) for Public Water Systems, 77
          Fed. Reg: 26072 (May 2, 2012).
              25
                Blum A, Balan SA, Scheringer M, Trier X, Goldenman G, Cousins IT, Diamond M, Fletcher T, Higgins C,
          Lindeman AE, Peaslee G, de Voogt P, Wang Z, Weber R. 2015. The Madrid statement on poly- and perfluoroalkyl
          substances (PFASs). Environ Health Perspect 123:A107–A111; http://dx.doi.org/10.1289/ehp.1509934.

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                   213.     On May 25, 2016, the EPA released a lifetime health advisory (HAs) and health

          effects support documents for PFOS and PFOA.26 See Fed. Register, Vol. 81, No. 101, May 25,

          2016. The EPA developed the HAs to assist governmental officials in protecting public health

          when PFOS and PFOA are present in drinking water. The EPA HAs identified the concentration

          of PFOS and PFOA in drinking water at or below which adverse health effects are not anticipated

          to occur over a lifetime of exposure at 0.07 ppb or 70 ppt. The HAs were based on peer-reviewed

          studies of the effects of PFOS and PFOA on laboratory animals (rats and mice) and were also

          informed by epidemiological studies of human populations exposed to PFOS. These studies

          indicate that exposure to PFOS and PFOA over these levels may result in adverse health effects,

          including:

                       a. Developmental effects to fetuses during pregnancy or to breastfed infants (e.g., low

                            birth weight, accelerated puberty, skeletal variations);

                       b. Cancer (testicular and kidney);

                       c. Liver effects (tissue damage);

                       d. Immune effects (e.g., antibody production and immunity);

                       e. Thyroid disease and other effects (e.g., cholesterol changes).

                   214.     In addition, PFOS and PFOA are hazardous materials because they pose a “present

          or potential threat to human health.”27

                   215.     In 2016, the National Toxicology Program of the United States Department of

          Health and Human Services (“NTP”) and the International Agency for Research on Cancer



             26
                See Fed. Register, Vol. 81, No. 101, May 25, 2016, Lifetime Health Advisories and Health Effects Support
          Documents for Perfluorooctanoic Acid and Perfluorooctane Sulfonate.
               27
                  Id.; see also National Ass'n for Surface Finishing v. EPA, 795 F.3d 1, 3, 6 (D.C. Cir. 2015) (referring to PFOS
          as a “toxic compound” and a “hazardous chemical.”).

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          (“IARC”) both released extensive analyses of the expanding body of research regarding the

          adverse effects of PFCs. The NTP concluded that both PFOA and PFOS are “presumed to be an

          immune hazard to humans” based on a “consistent pattern of findings” of adverse immune effects

          in human (epidemiology) studies and “high confidence” that PFOA and PFOS exposure was

          associated with suppression of immune responses in animal (toxicology) studies.28

                    216.   IARC similarly concluded that there is “evidence” of “the carcinogenicity of . . .

          PFOA” in humans and in experimental animals, meaning that “[a] positive association has been

          observed between exposure to the agent and cancer for which a causal interpretation is . . .

          credible.”29

                    217.    California has listed PFOA and PFOS to its Proposition 65 list as a chemical known

          to cause reproductive toxicity under the Safe Drinking Water and Toxic Enforcement Act of

          1986.30

                    218.   The United States Senate and House of Representatives passed the National

          Defense Authorization Act in November 2017, which included $42 Million to remediate PFC

          contamination from military bases, as well as devoting $7 Million toward the Investing in Testing

          Act, which authorizes the Center for Disease Control and Prevention (“CDC”) to conduct a study

          into the long-term health effects of PFOA and PFOS exposure.31 The legislation also required that


              28
                 See U.S. Dep’t of Health and Human Services, Nat’l Toxicology Program, NTP Monograph: Immunotoxicity
          Associated with Exposure to Perfluorooctanoic Acid or Perfluorooctane Sulfonate (Sept. 2016), at 1, 17, 19, available
          at https://ntp.niehs.nih.gov/ntp/ohat/pfoa_pfos/pfoa_pfosmonograph_508.pdf
               29
                  See Int’l Agency for Research on Cancer, IARC Monographs: Some Chemicals Used as Solvents and in
          Polymer           Manufacture       (Dec.       2016),     at       27,     97,       available       at
          http://monographs.iarc.fr/ENG/Monographs/vol110/mono110.pdf.
               30
                  California Office of Environmental Health Hazard Assessment, Chemicals Listed Effective Nov. 10, 2017 as
          Known to the State of California to Cause Reproductive Toxicity: Perfluorooctanoic Acid (PFOA) and
          Perfluorooctane Sulfonate (PFOS), Nov. 9, 2017, available at https://oehha.ca.gov/proposition-65/crnr/chemicals-
          listed-effective-november-10-2017-known-state-california-cause.
               31
                  National Defense Authorization Act for Fiscal Year 2018, H.R. 2810, 115th Congress (2017), available at
          https://www.congress.gov/115/plaws/publ91/PLAW-115publ91.pdf.

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          the Department of Defense submit a report on the status of developing a new military specification

          for AFFF that did not contain PFOS or PFOA.32

                   219.   In June 2018, the Agency for Toxic Substances and Disease Registry (“ATSDR”)

          and EPA released a draft toxicological profile for PFOS and PFOA and recommended the drinking

          water advisory levels be lowered to 11 ppt for PFOA and 7 ppt for PFOS.33

                   220.   On February 20, 2020, the EPA announced a proposed decision to regulate PFOA

          and PFOS under the Safe Drinking Water Act, which the agency characterized as a “key milestone”

          in its efforts to “help communities address per- and polyfluoroalkyl substances (PFAS)

          nationwide.”34 Following a public comment period on its proposed decision, the EPA will decide

          whether to move forward with the process of establishing a national primary drinking water

          regulation for PFOA and PFOS.

                   E.     AFFF Containing PFOS and PFOA Is Fungible and Commingled in the
                          Groundwater

                   221.   AFFF containing PFOS and/or PFOA, once it has been released to the environment,

          lacks characteristics that would enable identification of the company that manufactured that

          particular batch of AFFF or chemical feedstock.

                   222.   A subsurface plume, even if it comes from a single location, such as a retention

          pond or fire training area, originates from mixed batches of AFFF and chemical feedstock coming

          from different manufacturers.



              32
                Id.; see also U.S. Department of Defense, Alternatives to Aqueous Film Forming Foam Report to Congress,
          June 2018, available at https://www.denix.osd.mil/derp/home/documents/alternatives-to-aqueous-film-forming-
          foam-report-to-congress/.
               33
                  ATSDR, Toxicological Profile for Perfluoroalkyls: Draft for Public Comment (June 2018), available at
          https://www.atsdr.cdc.gov/toxprofiles/tp200.pdf.
              34
                 Press Release, EPA Announces Proposed Decision to Regulate PFOA and PFOS in Drinking Water, Feb. 20,
          2020, available at https://www.epa.gov/newsreleases/epa-announces-proposed-decision-regulate-pfoa-and-pfos-
          drinking-water.

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                 223.    Because precise identification of the specific manufacturer of any given

          AFFF/Component Product that was a source of the PFAS found at Reese Air Force Base, during

          fire protection, training, and response activities, resulting in widespread PFAS contamination is

          nearly impossible, given certain exceptions, Plaintiffs must pursue all Defendants, jointly and

          severally.

                 224.    Defendants are also jointly and severally liable because they conspired to conceal

          the true toxic nature of PFOS and PFOA, to profit from the use of AFFF/Component Products

          containing PFOS and PFOA, at Plaintiffs’ expense, and to attempt to avoid liability.

                         MARKET SHARE LIABILITY, ALTERNATIVE LIABILITY,
                          CONCERT OF ACTION, AND ENTERPRISE LIABILITY

                 225.    Defendants in this action are manufacturers that control a substantial share of the

          market for AFFF/Component Products containing PFOS, PFOA, and/or their chemical precursors

          in the United States and are jointly responsible for the contamination of the groundwater at the

          Site, affecting groundwater sources within the vicinity of the base. Market share liability attaches

          to all Defendants and the liability of each should be assigned according to its percentage of the

          market for AFFF/Component Products at issue in this Complaint.

                 226.    Because PFAS is fungible, it is impossible to identify the exact Defendant who

          manufactured any given AFFF/Component Product containing PFOS, PFOA, and/or their

          chemical precursors found free in the air, soil or groundwater, and each of these Defendants

          participated in a territory-wide and U.S. national market for AFFF/Component Products during

          the relevant time.

                 227.    Concert of action liability attaches to all Defendants, each of which participated in

          a common plan to commit the torts alleged herein and each of which acted tortuously in pursuance




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          of the common plan to knowingly manufacture and sell inherently dangerous AFFF/Component

          Products containing PFOS, PFOA, and/or their chemical precursors.

                 228.     Enterprise liability attaches to all the named Defendants for casting defective

          products into the stream of commerce.

                                                   CONSPIRACY

                 229.     Defendants actually knew of the health and environmental hazards which PFOA

          and PFOS posed to Plaintiffs.

                 230.         Beginning in the 1970s and continuing through the date of this Complaint,

          Defendants formed joint task forces, committees and otherwise colluded for the avowed purpose

          of providing information about AFFF/Component Products containing PFOA and/or PFOS to the

          public and to government agencies with the unlawful purpose of:

                     a.      Creating a market for AFFF/Component Products containing PFOA and/or

                             PFOS despite knowledge of the hazards which PFOA and PFOS posed to the

                             groundwater in Colorado and the residents who depend on such water;

                     b.      Concealing the environmental properties and toxic nature of PFOA and PFOS,

                             and its impact on Plaintiffs and the environment; and

                     c.      Maximizing profits in a way Defendants knew or should have known would

                             result in the contamination of Plaintiffs’ drinking water.

                 231.     Defendants carried out their conspiracy by one or more of the following overt acts

          or omissions:

                     a.      Intentionally representing to the DOD, USAF, USEPA and the public that

                             AFFF/Component Products containing PFOA and PFOS were safe and did not

                             pose an environmental or human health risk;



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                     b.     Concealing the dangers of PFOA and PFOS (including toxicological

                            information on the dangers of the chemicals to living organisms, adverse fate

                            and transport characteristics, and the propensity of PFOA and PFOS to

                            contaminate groundwater) from the government and the public by, among other

                            means, repeatedly requesting that information about the dangers and health

                            effects of PFOA and PFOS be suppressed and not otherwise published, and by

                            downplaying any adverse findings relating to PFOA and PFOS;

                     c.     Concealing the dangers of AFFF/Component Products containing PFOA and

                            PFOS from end users, sensitive receptors, public water suppliers, and the users

                            and consumers of groundwater;

                     d.     Using their considerable resources to fight PFOA and PFOS regulation; and

                     e.     Collectively deciding to use PFOA and/or PFOS rather than other, safer

                            surfactants because AFFF/Component Products containing PFOA and/or PFOS

                            were the most profitable surfactant for Defendants to use.

                 232.        As a direct and proximate result of the Defendants’ above-described

          conspiracy, PFOA and PFOS, at all times relevant to this litigation has:

                     a.     Posed and continues to pose a health threat to Plaintiffs because it has

                            bioaccumulated in their bodies;

                     b.     Contaminated Plaintiffs’ property, soil, and groundwater, for those with private

                            water wells;

                     c.     Created the need for remediation of PFOA- and PFOS- contaminated

                            groundwater for those property owners who utilize private water wells, or,




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                              where remediation of the groundwater is impractical, installation of a system to

                              filter out PFOA and PFOS or procurement of water from alternative sources;

                                                  CAUSES OF ACTION

                                                      COUNT 1:
                                                  DEFECTIVE DESIGN

                  233.     Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                  234.     As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

          their chemical precursors, Defendants owed a duty to all persons whom its products might

          foreseeably harm, including Plaintiffs, and not to market any product which is unreasonably

          dangerous in design for its reasonably anticipated used.

                  235.     Defendants’ AFFF/Component Products were unreasonably dangerous for its

          reasonably anticipated uses for the following reasons:

                      a. PFAS causes extensive groundwater contamination, even when used in its foreseeable

                           and intended manner;

                      b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

                      c. PFAS poses significant threats to public health; and

                      d. PFAS create real and potential environmental damage.

                  236.     Defendants knew of these risks and failed to use reasonable care in the design of

          their AFFF/Component Products.

                  237.     AFFF containing PFOS, PFOA, and/or their chemical precursors poses a greater

          danger to the environment and to human health than would be expected by ordinary persons such

          as Plaintiffs.




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                  238.    At all times, Defendants were capable of making AFFF/Component Products that

          did not contain PFOS, PFOA, and/or their chemical precursors. Thus, reasonable alternative

          designs existed which were capable of preventing Plaintiffs’ injuries.

                  239.    The risks posed by AFFF containing PFOS, PFOA, and/or their chemical

          precursors far outweigh the products’ utility as a flame-control product.

                  240.    The likelihood that Defendants’ AFFF/Component Products would be spilled,

          discharged, disposed of, or released into the environment and Plaintiffs’ water well has been, and

          continues to be, contaminated with PFAS in varying amounts over time, causing Plaintiffs

          significant injuries and damages that far outweighed any burden on Defendants to adopt an

          alternative design, and outweighed the adverse effect, if any, of such alternative design on the

          utility of the product.

                  241.    As a direct and proximate result of Defendants’ unreasonably dangerous design,

          manufacture, and sale of AFFF/Component Products containing PFOS, PFOA, and/or their

          chemical precursors, Plaintiffs’ water supply has been, and continues to be, contaminated with

          PFAS in varying amounts over time, causing Plaintiffs significant injuries and damages.

                  242.    Defendants knew that it was substantially certain that their acts and omissions

          described above would contaminate Plaintiffs’ water supply with PFAS in varying amounts over

          time, causing Plaintiffs significant injuries and damages. Contamination that led to the exposure of

          Plaintiffs’ to toxins and increased their risk of numerous diseases. Defendants committed each of the

          above-described acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice,

          and with conscious and/or reckless disregard for Plaintiffs’ health and safety, and/or property rights.




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                                                     COUNT 2:
                                                 FAILURE TO WARN

                 243.    Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                 244.    As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

          their chemical precursors, Defendants had a duty to provide adequate warnings of the risks of these

          products to all persons whom its product might foreseeably harm, including Plaintiffs.

                 245.    Defendants’ AFFF/Component Products were unreasonably dangerous for its

          reasonably anticipated uses for the following reasons:

                     a. PFAS causes extensive groundwater contamination, even when used in its foreseeable

                         and intended manner;

                     b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

                     c. PFAS poses significant threats to public health; and

                     d. PFAS create real and potential environmental damage.

                 246.    Defendants knew of the health and environmental risks associated with their

          AFFF/Component Products and failed to provide a warning that would lead an ordinary reasonable

          user or handler of a product to contemplate the dangers associated with their products or an

          instruction that would have avoided Plaintiffs’ injuries.

                 247.    Despite Defendants’ knowledge of the environmental and human health hazards

          associated with the use and/or disposal of their AFFF/Component Products in the vicinity of drinking

          water supplies, including PFAS contamination of the drinking supplies, Defendants failed to issue

          any warnings, instructions, recalls, or advice regarding their AFFF/Component Products to Plaintiff,

          governmental agencies or the public.




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                   248.   As a direct and proximate result of Defendants’ failure to warn, Plaintiffs’ water

          supply has been, and continues to be, contaminated with PFAS in varying amounts over time,

          causing Plaintiffs significant injuries and damages. Further, this contamination led to the exposure

          of Plaintiffs to toxins and increased their probabilities of numerous diseases as more fully set forth

          above.

                   249.   Defendants knew that it was substantially certain that their acts and omissions

          described above would contaminate Plaintiffs water supply with PFAS in varying amount, causing

          Plaintiffs significant injuries and damages. Defendants committed each of the above-described

          acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with

          conscious and/or reckless disregard for Plaintiffs’ health and safety, and/or property rights.

                                                      COUNT 3:
                                                     NEGLIGENCE

                   250.   Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                   251.   As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

          their chemical precursors, Defendants owed a duty to Plaintiffs and to all persons whom its

          products might foreseeably harm and to exercise due care in the formulation, manufacture, sale,

          labeling, warning, and use of PFAS-containing AFFF.

                   252.   Defendants owed a duty to Plaintiffs to act reasonably and not place inherently

          dangerous AFFF/Component Products into the marketplace when its release into the air, soil, and

          water was imminent and certain.

                   253.   Defendants knew or should have known that PFAS were leaching from AFFF used

          for fire protection, training, and response activities.




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                 254.    Defendants knew or should have known that PFAS are highly soluble in water,

          highly mobile, extremely persistent in the environment, and high likely to contaminate water

          supplies if released into the environment.

                 255.    Defendants knew or should have known that the manner in which they were

          designing, manufacturing, marketing, distributing, and selling their AFFF/Component Products

          would result in contamination of Plaintiffs’ water supply with PFAS in varying amounts over time,

          causing Plaintiffs significant injuries and damages.

                 256.    Despite the fact that Defendants knew or should have known that PFAS are toxic,

          can contaminate water resources and are carcinogenic, Defendants negligently:

                     a. designed, manufactured, formulated, handled, labeled, instructed, controlled,

                         marketed, promoted, and/or sold AFFF/Component Products containing PFOS,

                         PFOA, and/or their chemical precursors;

                     b. issued deficient instructions on how their AFFF/Component Products should be used

                         and disposed of, thereby permitting PFAS to contaminate the groundwater in and

                         around the Site;

                     c. failed to recall and/or warn the users of their AFFF/Component Products of the

                         dangers of groundwater contamination as a result of standard use and disposal of their

                         products;

                     d. failed and refused to issue the appropriate warning and/or recalls to the users of their

                         AFFF/Component Products; and

                     e. failing to take reasonable, adequate, and sufficient steps or actions to eliminate,

                         correct, or remedy any contamination after it occurred.




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                 257.       The magnitude of the burden on the Defendants to guard against this foreseeable

          harm to Plaintiffs was minimal, as the practical consequences of placing this burden on the

          Defendants amounted to a burden to provide adequate instructions, proper labeling, and sufficient

          warnings about their AFFF/Component Products.

                 258.       As manufacturers, Defendants were in the best position to provide adequate

          instructions, proper labeling, and sufficient warnings about their AFFF/Component Products, and

          to take steps to eliminate, correct, or remedy any contamination they caused.

                 259.       As a direct and proximate result of Defendants’ negligence, Plaintiffs’ water supply

          has been contaminated with PFAS, in varying amounts of time, causing Plaintiffs significant

          injuries and damages.

                 260.       Defendants knew that it was substantially certain that their acts and omissions

          described above would cause Plaintiffs’ water supply to be contaminated with PFAS in varying

          amounts over time, causing Plaintiffs significant injuries and damages. Defendants committed

          each of the above-described acts and omissions knowingly, willfully, and/or with fraud,

          oppression, or malice, and with conscious and/or reckless disregard for Plaintiffs’ health and safety,

          and/or property rights.

                                                       COUNT 4:
                                                       TRESPASS

                 261.       Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                 262.       Plaintiffs are the owners, operators, and actual possessors of real property as

          defined herein.

                 263.       Defendants    designed,    manufactured,     distributed,   marketed,    and   sold

          AFFF/Component Products with the actual knowledge and/or substantial certainty that AFFF


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          containing PFOS, PFOA, and/or their chemical precursors would, through normal use, release

          PFAS that would migrate into groundwater, causing contamination.

                    264.     Defendants negligently, recklessly, and/or intentionally designed, manufactured,

          distributed, marketed, and sold AFFF/Component Products in a manner that caused PFAS to

          contaminate Plaintiffs’ property.

                    265.     As a direct and proximate result of Defendants’ trespass, Plaintiffs have suffered

          and continues to suffer property damage requiring investigation, remediation, and monitoring

          costs.

                    266.     Defendants knew that it was substantially certain that their acts and omissions

          described above would threaten public health and cause extensive contamination of property,

          including groundwater collected for drinking. Defendants committed each of the above-described

          acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with

          conscious and/or reckless disregard for the health and safety of others, and for Plaintiffs’ property

          rights.

                                              COUNT 5:
                           ACTUAL FRAUDULENT TRANSFER (DuPont and Chemours Co.)

                    267.     Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                    268.     Through their effectuation of the Spinoff, Chemours Co. and DuPont (the

          “Fraudulent Transfer Defendants”) caused Chemours Co. to transfer valuable assets to DuPont,

          including but not limited to the $3.9 billion dividend (the “Transfers”), while simultaneously

          assuming significant liabilities (the “Assumed Liabilities”).

                    269.     The Transfers and Assumed Liabilities were made for the benefit of DuPont.




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                 270.    At the time that the Transfers were made and the Liabilities were assumed, and

          until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

          Chemours Co.

                 271.    The Fraudulent Transfer Defendants made the Transfers and incurred the Assumed

          Liabilities with the actual intent to hinder, delay, and defraud the creditors or future creditors of

          Chemours Co.

                 272.    Plaintiffs have been harmed as a result of the conduct of the Fraudulent Transfer

          Defendants.

                 273.    Plaintiffs are entitled to avoid the Transfers and to recover property or value

          transferred to DuPont.

                                       COUNT 6:
                 CONSTRUCTIVE FRAUDULENT TRANSFER (DuPont and Chemours Co.)

                 274.    Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                 275.    Chemours Co. did not receive reasonably equivalent value from DuPont in exchange

          for the Transfers and Assumed Liabilities.

                 276.    Each of the Transfers and the assumption of the Assumed Liabilities by Chemours

          Co. was made to or for the benefit of DuPont.

                 277.    At the time that the Transfers were made, and the Assumed Liabilities were assumed,

          and until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

          Chemours Co.

                 278.    The Fraudulent Transfer Defendants made the Transfers and assumed the Assumed

          Liabilities when Chemours Co. was engaged or about to be engaged in a business for which its

          remaining assets were unreasonably small in relation to its business.


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                  279.   Chemours Co. was insolvent or in contemplation of insolvency at the time of the

          Transfers or became insolvent as a result of the Transfers and its assumption of the Assumed

          Liabilities.

                  280.   At the time that the Transfers were made and Chemours Co. assumed the Assumed

          Liabilities, the Fraudulent Transfer Defendants intended to incur, or believed or reasonably should

          have believed, that Chemours Co. would incur debts beyond its ability to pay as they became due.

                  281.   Plaintiffs have been harmed as a result of the Transfers.

                  282.   Plaintiffs are entitled to avoid the Transfers and to recover property or value

          transferred to DuPont.

                                                   COUNT 6:
                                              PUNITIVE DAMAGES

                  283.   Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                  284.   Defendants engaged in willful, wanton, malicious, and/or reckless conduct that

          caused the foregoing damage upon Plaintiff, disregarding their protected rights.

                  285.   Defendants’ willful, wanton, malicious, and/or reckless conduct includes but is not

          limited to Defendants’ failure to take all reasonable measures to ensure PFAS would not be

          released into the environment and inevitably to Plaintiffs’ water supply which was contaminated

          and continues to be contaminated with PFAS in varying amounts over time, causing Plaintiffs

          significant injury and damage.

                  286.   Defendants have caused great harm to Plaintiff, acting with implied malice and an

          outrageously conscious disregard for Plaintiffs’ rights and safety, such that the imposition of

          punitive damages is warranted.




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                                               PRAYER FOR RELIEF

                 WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them, jointly

          and severally, and request the following relief from the Court:

                     a. a declaration that Defendants acted with negligence, gross negligence, and/or willful,

                         wanton, and careless disregard for the health, safety of Plaintiffs;

                     b. an award to Plaintiffs of general, compensatory, exemplary, consequential, nominal,

                         and punitive damages;

                     c. an order for an award of attorney fees and costs, as provided by law;

                     d. pre-judgment and post-judgment interest as provided by law;

                     e. compensatory damages according to proof including, but not limited to:

                                 i. costs and expenses related to the past, present, and future investigation,
                                    sampling, testing, and assessment of the extent of PFAS contamination
                                    at Plaintiffs’ water source;

                                 ii. costs and expenses related to past, present, and future treatment and
                                     remediation of PFAS contamination at Plaintiffs’ water source; and

                                 iii. costs and expenses related to past, present, and future installation and
                                      maintenance of filtration systems to assess and evaluate PFAS at
                                      Plaintiffs’ water source;

                     f. an order barring the transfer of DuPont’s liabilities for the claims brought in this

                         Complaint;

                     g. an award of punitive damages in an amount sufficient to deter Defendants’ similar

                         wrongful conduct in the future;

                     h. an award of consequential damages;

                     i. an order for an award of attorney fees and costs, as provided by law;

                     j. an award of pre-judgment and post-judgment interest as provided by law; and

                     k. an order for all such other relief the Court deems just and proper.


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                                          DEMAND FOR JURY TRIAL

                Plaintiffs demand a trial by jury of all issues so triable as a matter of right.



          DATED this 26th day of May 2022.

                                                        Respectfully submitted,

                                                        NAPOLI SHKOLNIK

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